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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAIʻI

   GRAHAM T. CHELIUS, M.D., et al.

                       Plaintiffs,                     CIVIL ACTION

   v.                                                  Case No. 1:17-cv-
                                                       00493-JAO-RT
   XAVIER BECERRA, J.D., in his
   official capacity as SECRETARY,
   U.S. D.H.H.S., et al.,                              AMENDED AND
                                                       SUPPLEMENTAL
                                                       COMPLAINT
                       Defendants.
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  Plaintiffs, by and through their undersigned attorneys, bring this complaint against

  the above-named Defendants, their employees, agents, and successors in office,

  and in support thereof allege the following:

                              PRELIMINARY STATEMENT

       1. Mifepristone is a prescription medication that U.S. patients have used for

  decades to end an early pregnancy by initiating a process very similar to a

  miscarriage. 1 As the U.S. Food and Drug Administration (“FDA” or “the Agency”)

  observed in 2016, mifepristone “has been increasingly used as its efficacy and safety

  have become well-established by both research and experience, and serious

  complications have proven to be extremely rare.” 2

       2. Indeed, safety data from mifepristone’s 5.6 million uses in the United States

  confirm that it is far safer than many other common medications, including Tylenol

  and Viagra.3

       3. Moreover, FDA has never concluded that any very rare serious complications

  were actually caused by mifepristone. To the contrary, mifepristone’s FDA-




  1
   Plaintiffs use “mifepristone” to refer to both the brand-name drug, Mifeprex®, and its generic,
  mifepristone, which are subject to identical regulations.
  2
      Admin. Record (“AR”) 0539.
  3
   U.S. Food & Drug Admin., Mifepristone U.S. Post-Marketing Adverse Events Summary through
  06/30/2022, available at https://www.fda.gov/media/164331/download [hereinafter “Mifepristone
  U.S. Post-Marketing Adverse Events”].


                                                 2
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  approved labeling notes that the serious risks identified in mifepristone’s labeling

  are the same risks arising any time the pregnant uterus is emptied, whether through

  childbirth, miscarriage, or abortion.4 And FDA has explained that in nearly all of the

  (very few) cases of fatal infections associated with mifepristone, the “critical risk

  factor . . . is pregnancy itself.”5

       4. Nevertheless, FDA subjects mifepristone to a Risk Evaluation and Mitigation

  Strategy (“REMS”), which is a special set of restrictions above and beyond the

  normal layers of protections that apply to virtually every other prescription drug.

       5. Congress permits FDA to impose a REMS only when “necessary to ensure

  that the benefits of a drug outweigh [its] risks,” considering certain statutorily

  mandated factors. 21 U.S.C. §355-1(a)(1). Congress established further safeguards

  around the imposition of the most burdensome kinds of REMS—Elements To

  Assure Safe Use (“ETASU”)—which FDA may impose only when necessary

  because of the “inherent toxicity or potential harmfulness” of a drug. Id. § 355-

  1(f)(1). Specifically, FDA may impose ETASU on a drug that “has been shown to

  be effective” only if it is “associated with a serious adverse drug experience” such

  that it “can be approved only if, or [approval] would be withdrawn unless, such

  [ETASU] are required.” Id. § 355-1(f)(1)(A). Even then, ETASU must be


  4
      AR 0398.
  5
      AR 880–81 & n.69.

                                            3
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  “commensurate with the specific serious risk[s]” listed in the drug’s labeling, id. §

  355-1(f)(2)(A); “required as part of [a] strategy to mitigate” such risks, id. § 355-

  1(f)(1)(A); and not “unduly burdensome on patient access to the drug, considering

  in particular . . . . patients who have difficulty accessing health care (such as patients

  in rural or medically underserved areas),” id. § 355-1(f)(2)(C) (emphases added).

        6. FDA imposes a REMS on fewer than 3% of the more than 20,000 drug

  products it regulates, and 75% of drugs subject to a REMS are opioids 6—which “are

  claiming lives at [such] a staggering rate” that they “are reducing life expectancy in

  the United States.”7

        7. In 2017, Plaintiffs filed this litigation challenging FDA’s 2016 final agency

  action reauthorizing a REMS, including three ETASU, for mifepristone.

        8. In 2020, a coalition of medical experts led by the American College of

  Obstetricians and Gynecologists (“ACOG”) challenged one of the mifepristone

  ETASU in a separate matter: ACOG v. FDA, 472 F. Supp. 3d 183 (D. Md. 2020).

  The plaintiffs in ACOG argued that FDA’s longstanding requirement that

  mifepristone be dispensed only in a hospital, clinic, or medical office was medically

  unnecessary and exposed patients to needless burdens and viral risks during the



  6
      Joint Stip. of Facts ¶¶ 58–59 (ECF 85).
  7
    Opioid Medications, U.S. Food & Drug Admin., https://www.fda.gov/drugs/information-drug-
  class/opioid-medications (last updated Mar. 29, 2021).

                                                4
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  COVID-19 pandemic. Id. The U.S. District Court for the District of Maryland

  preliminarily enjoined this ETASU over defendants’ objection that “based on FDA’s

  scientific judgment, the In-Person Requirements are necessary to assure safe use of

  mifepristone and thus to protect patients’ safety.” Id. at 228. That injunction

  remained in place for six months. FDA v. ACOG, 141 S. Ct. 578, 578 (2021) (mem.)

  (granting stay).

      9. In April 2021, FDA announced that it would exercise enforcement discretion

  with respect to the mifepristone in-person dispensing ETASU for the duration of the

  COVID-19 Public Health Emergency. 8 The Agency conceded that, during the six-

  month period when the in-person dispensing requirement was enjoined and

  mifepristone was available through mail-order pharmacies, there was no increase in

  adverse safety events.9

      10. The next month, in May 2021, Plaintiffs in the instant case moved for

  summary judgment. Shortly before FDA’s brief was due, the Agency notified


  8
   U.S. Food & Drug Admin., REMS Review Memorandum 6 (Jan. 3, 2023) [hereinafter “2023
  REMS Review”], attached hereto as Suppl. Ex. A (summarizing regulatory history).
  9
    U.S. Food & Drug Admin., REMS Review Memorandum 38 (Dec. 16, 2021) [hereinafter
  “2021 REMS Review”], attached hereto as Suppl. Ex. B (“We further conclude, based our
  review of the postmarketing safety data from FAERS during the COVID-19 PHE and
  information submitted by the applicants for the timeframe of January 27, 2020 through
  September 30, 2021, that there does not appear to be a difference in adverse events between
  periods during the COVID-19 PHE when the in-person dispensing requirement was being
  enforced and periods when the in-person dispensing requirement was not being enforced; nor
  have we identified any new safety concerns with the use of mifepristone for medical termination
  of early pregnancy.”).

                                                 5
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  Plaintiffs that it was undertaking a new review of the mifepristone REMS. On the

  condition that FDA would “review any relevant data and evidence submitted by the

  Plaintiffs,” Joint Mot. Stay 2 (ECF 148), the parties jointly moved for a stay.

        11. In August and September 2021, Plaintiffs submitted to FDA two letters

  explaining why the mifepristone REMS is medically unjustified and burdens patients

  and the health care system. Plaintiffs cited statements opposing the mifepristone

  REMS by other leading medical associations, including the American Medical

  Association (“AMA”), ACOG, and the American Academy of Family Physicians

  (“AAFP”). 10 And, among other research, Plaintiffs cited data showing that after

  Canada eliminated its restrictions on mifepristone in 2017 to allow for normal

  prescribing, medication abortion remained extremely safe, with a major

  complication rate of only 0.33%.11

        12. In addition, Plaintiffs gave examples of other medications that pose risks

  greater than or comparable to that of mifepristone but are not subject to a REMS.

  For instance, Plaintiffs noted that Jeuveau® is not subject to a REMS, even though

  it is used for a purely cosmetic purpose—temporarily reducing the appearance of



  10
    See generally Letter from Chelius Plaintiffs to Janet Woodcock, MD (Sept. 29, 2021)
  [hereinafter “Chelius Plaintiffs’ Letter”], attached hereto as Suppl. Ex. C; Letter from Soc’y of
  Family Planning to Christine Nguyen, MD (Aug. 13, 2021) [hereinafter “SFP Letter”], attached
  hereto as Suppl. Ex. D.
  11
       Chelius Plaintiffs’ Letter, supra note 10, at 2.


                                                          6
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  lines between one’s eyebrows—and carries an FDA black-box warning for

  “[s]wallowing and breathing difficulties” that “can be life threatening,” with “reports

  of death.”12

        13. In January 2023, FDA reauthorized the mifepristone REMS. 13 While

  permanently eliminating in-person dispensing, FDA retained the other two

  ETASU—including one that the Agency’s own scientific review team had

  recommended removing in 2016 because it is “duplicative” and “does not add to safe

  use conditions.”14 Moreover, FDA added a new ETASU requiring pharmacies to

  become “certified” before they can dispense mifepristone—notwithstanding that

  pharmacies had dispensed mifepristone throughout the pandemic with no

  certification requirement and no increase in adverse events.

        14. FDA’s REMS Review memoranda reflect that, in reauthorizing the REMS

  in 2023, the Agency nowhere considered many of the statutory factors Congress

  requires to inform a decision whether to impose a REMS and ETASU, such as the

  “background incidence” of adverse events in the population likely to use the drug

  and whether the drug is a “new molecular entity” posing potentially unknown risks.



  12
       Id. at 3.
  13
    Risk Evaluation & Mitigation Strategy (REMS) Single Shared System for Mifepristone
  (2023), attached hereto as Suppl. Ex. E.
  14
       AR 0437, 0674.


                                              7
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  21 U.S.C. § 355-1 (a)(1). Accordingly, the Agency never grappled with facts critical

  to the mifepristone REMS analysis—including FDA’s admissions that continuing a

  pregnancy is many times more dangerous than ending a pregnancy with mifepristone

  and misoprostol;15 that the risks associated with mifepristone are inherent to

  pregnancy and have never been shown to be caused by mifepristone rather than by

  pregnancy itself;16 and that mifepristone is a very common and well-studied

  medication with an extremely strong and stable risk profile. 17

        15. FDA also nowhere explained how its ETASU could possibly be

  “commensurate” with the risks listed in the mifepristone labeling when FDA does

  not impose similar restrictions on other, riskier drugs. 21 U.S.C. § 355-1(f)(2)(A).

        16. And FDA expressly declined to consider, inter alia, the positions of leading

  medical associations that the mifepristone REMS is not supported by science and

  harms patients and the health care system; and evidence showing that the

  mifepristone ETASU are “unduly burdensome on patient access to the drug,”

  particularly for “patients in rural or medically underserved areas” who struggle to



  15
    AR 0859 & n.6 (FDA relying on study finding that “the risk of childbirth related death was
  therefore approximately 14 times higher than the rate associated with legal abortion”).
  16
       AR 383–84, 0387, 0398.
  17
    See, e.g., 2021 REMS Review, supra note 9, at 22, 31; AR 0535 (after 15 years of mandatory
  adverse event reporting under the REMS, FDA “has determined that the safety profile of
  Mifeprex is well-characterized, that no new safety concerns have arisen in recent years, and that
  the known serious risks occur rarely”); AR 0574 (major adverse events associated with
  mifepristone are “exceedingly rare”).

                                                  8
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  obtain abortion care. Id. § 355-1(f)(2)(C).

     17. At bottom, FDA’s latest REMS analyses—just like the 2016 REMS decision

  Plaintiffs originally challenged—assumes without supporting data that the

  restrictions the Agency put in place long ago, when mifepristone was still a novel

  drug in the United States, remain necessary after millions of uses and mountains of

  evidence confirming mifepristone’s safety and efficacy.

     18. The elimination of in-person dispensing—a decision FDA made only after a

  federal court injunction confirmed that the Agency’s speculative safety concerns

  were unfounded—removed one key barrier that had prevented clinicians, including

  Plaintiff Dr. Graham Chelius, from prescribing mifepristone at all, as well as forcing

  countless patients to travel unnecessarily when they could otherwise safely obtain

  their prescription through telemedicine and by mail.

     19. Nevertheless, the 2023 REMS continues to significantly impede patients’

  access to mifepristone—including by (1) creating an administrative morass for

  clinicians seeking to integrate mifepristone into their health care systems, delaying

  or altogether derailing their efforts to provide this care; (2) posing logistical and

  technological challenges that amount to a de facto in-person pill pick-up requirement

  for some patients, most often those with lower incomes; (3) deterring qualified

  clinicians from prescribing mifepristone because they fear anti-abortion violence

  and harassment if their registration as a mifepristone prescriber were ever exposed;

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  (4) deterring pharmacies from dispensing mifepristone because of the burdens of

  certification; (5) impeding research and training on mifepristone at academic

  institutions because of stigma arising from a REMS classification; and

  (6) undermining the informed consent process and provider-patient relationship by

  mandating counseling that is at best duplicative—and often inaccurate, confusing,

  and distressing.

     20. In the wake of the U.S. Supreme Court’s decision in Dobbs v. Jackson

  Women’s Health Org., 142 S. Ct. 2228 (2022), abortion access is decimated in much

  of the country and the United States faces a growing maternal mortality crisis,

  particularly for people of color. Against that backdrop, there is an ever more urgent

  need to eliminate FDA’s medically unjustified restrictions on mifepristone, which

  needlessly reduce health care capacity and burden patients in those states where

  abortion access remains lawful, but is under tremendous strain.


                            JURISDICTION AND VENUE

     21. This Court has subject matter jurisdiction over Plaintiffs’ federal claims

  under Article III of the Constitution and 28 U.S.C. § 1331, as a civil action arising

  under the laws of the United States; 28 U.S.C. § 1346(a)(2), as a civil action against

  the federal government; 28 U.S.C. § 1343(a)(4), as a civil action to secure equitable

  or other relief under any Act of Congress providing for the protection of civil rights;

  and 5 U.S.C. § 702, as a civil action seeking judicial review of a final agency action.
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     22. Plaintiffs’ action for declaratory and injunctive relief is authorized by 28

  U.S.C. §§ 2201, 2202, and 1361, Federal Rules of Civil Procedure 57 and 65, and

  by the inherent equitable powers of this Court.

     23. There exists an actual and justiciable controversy between Plaintiffs and

  Defendants requiring resolution by this Court. Plaintiffs have no adequate remedy at

  law.

     24. This Court has authority to award costs and attorneys’ fees under 28 U.S.C.

  § 2412.

     25.Venue is proper in the District of Hawaiʻi pursuant to 28 U.S.C. §§ 1391(b)

  and (e)(1), and 1402(a)(1), because this is a civil action in which Defendants are an

  agency, or officers of an agency, of the United States, because a substantial part of

  the events or omissions giving rise to this action occurred in the District, and because

  Plaintiff Chelius resides in the District.

                                         PARTIES

     A. Plaintiffs

     26. Plaintiff Graham T. Chelius, M.D., is a board-certified family medicine

  physician with a focus in obstetrics. He works for the Hawaii Health Systems

  Corporation’s Kauaʻi Region, which includes Kauai Veterans Memorial Hospital in

  Waimea, Kauaʻi, on the western side of the island (“Kauai Veterans”) and Samuel

  Mahelona Memorial Hospital in Kapaʻa, Kauaʻi, on the eastern side of the island.

                                               11
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  Dr. Chelius previously served as the Chief Medical Officer and Chief of Staff for

  the Hawaii Health Systems Corporation’s Kauaʻi Region. Over the past decade, he

  has delivered well over a thousand babies on an island of approximately 74,000

  people. Dr. Chelius brings this lawsuit solely in his individual capacity and does not

  speak on behalf of the Hawaii Health Systems Corporation. Dr. Chelius is a resident

  of the State of Hawaiʻi.

     27. The mifepristone REMS undermines Dr. Chelius’s relationship with and

  counseling of his patients who use mifepristone, and jeopardizes his patients’

  privacy and safety. He sues on his own behalf and on behalf of his patients.

     28. Plaintiff Society of Family Planning (“SFP”) is a non-profit corporation with

  staff locations throughout the United States, incorporated in the state of Illinois. SFP

  is a national member association of clinicians, scholars, and partners united around

  advancing just and equitable abortion and contraception, informed by science.

  Membership in SFP is open to individuals who are in good professional standing

  and have a demonstrated interest in conducting or leveraging family planning

  research. Since its incorporation in 2005, SFP’s membership has grown to over

  1,400 members based primarily in the United States. Its members are trained in

  obstetrics and gynecology, internal medicine, family medicine, pediatrics/adolescent

  medicine, public health, demography, nursing, epidemiology, and other specialties.

  SFP works to advance sexual and reproductive health by providing evidence-based

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  insight to improve clinical care in the areas of contraception and abortion. SFP also

  seeks to cultivate a collaborative and supportive environment to foster scholarly

  activity and leadership in the areas of reproductive health and family planning.

     29. SFP has members who are prevented from providing mifepristone to their

  patients because of the REMS. The REMS also impedes some of SFP’s members

  from engaging in research and publication relating to mifepristone; undermines

  some of SFP’s members’ relationships with and counseling of their patients;

  jeopardizes the privacy and safety of some of SFP’s members’ patients; and prevents

  some of SFP’s members’ patients from using telemedicine to obtain mifepristone.

  SFP sues on behalf of its members and their patients.

     30. The California Academy of Family Physicians (“CAFP”) is a non-profit

  professional association located in San Francisco, California. With nearly 11,000

  family physician, family medicine resident, and medical student members, CAFP is

  the largest primary care medical society in California and the largest chapter of the

  American Academy of Family Physicians. Since 1948, it has engaged in advocacy

  and education to help family physicians improve their practices and expand access

  to high-quality and cost-effective patient care in California. To that end, CAFP offers

  affordable, evidence-based continuing medical education, provides cost-saving

  practice management resources, and fosters opportunities to promote the family

  medicine specialty and ensure a strong and healthy primary care pipeline. CAFP

                                            13
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  brings this lawsuit as an individual chapter and not as a representative of the

  American Academy of Family Physicians.

     31. CAFP has members who are prevented from providing mifepristone to their

  patients because of the mifepristone REMS. The REMS also impedes some of

  CAFP’s members from engaging in research and publication relating to

  mifepristone; undermines some of CAFP’s members’ relationships with and

  counseling of their patients; jeopardizes the privacy and safety of some of CAFP’s

  members’ patients; and prevents some of CAFP’s members’ patients from using

  telemedicine to obtain mifepristone. CAFP sues on behalf of its members and their

  patients.

     B. Defendants

     32. Defendant Xavier Becerra, J.D., who is being sued in his official capacity

  only, is the Acting Secretary of the United States Department of Health and Human

  Services (“HHS”) and is responsible for administering and enforcing the FDCA. In

  particular, the Secretary is responsible for determining, in consultation with the

  office responsible for reviewing a drug and the office responsible for post-approval

  safety with respect to a drug, whether a REMS “is necessary to ensure that the

  benefits of the drug outweigh the risks of the drug . . . .” 21 U.S.C. § 355-1(a)(1).

  The Secretary may also, in consultation with the office responsible for reviewing the

  drug and the office responsible for post-approval safety with respect to the drug,

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  require that any REMS include such ETASU as are necessary based on the drug’s

  “inherent toxicity or potential harmfulness.” Id. § 355-1(f)(1). Defendant Becerra

  maintains an office in Washington, D.C.

     33.Defendant FDA is an agency of the United States Government within HHS

  with offices in Washington, D.C., and Silver Spring, Maryland. The Secretary of

  HHS has delegated to FDA the authority to administer the relevant provisions of the

  FDCA.

     34.Defendant Robert M. Califf, M.D., who is being sued in his official capacity

  only, is the Commissioner of Food and Drugs and is responsible for supervising the

  activities of FDA, including with regard to the imposition or removal of a REMS.

  Defendant Califf maintains offices in Washington, D.C., and Silver Spring,

  Maryland.

                           STATUTORY FRAMEWORK

     A. FDA Approval Process for New Drugs

     35. Before a drug can be marketed in the United States, the drug’s sponsor must

  submit a new drug application (“NDA”) to FDA. If the NDA demonstrates that the

  drug is safe and effective, FDA will approve it.

     36. According to FDA’s website, this approval process incorporates three

  elements: First, “[a]nalysis of the target condition and available treatments,” under

  which the Agency’s reviewers

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                analyze the condition or illness for which the drug is
                intended and evaluate the current treatment landscape,
                which provide the context for weighing the drug’s risks
                and benefits. For example a drug intended to treat patients
                with a life-threatening disease for which no other therapy
                exists may be considered to have benefits that outweigh
                the risks even if those risks would be considered
                unacceptable for a condition that is not life-threatening.28

  Second, FDA performs an “[a]ssessment of benefits and risks from clinical data.”

  FDA explains that, “[g]enerally, the agency expects that the drug maker will submit

  results from two well-designed clinical trials,” although “[i]n certain cases . . .

  convincing evidence from one clinical trial may be enough. Evidence that the drug

  will benefit the target population should outweigh any risks and uncertainties.”29

  Third, FDA considers “[s]trategies for managing risks.” The Agency notes: “All

  drugs have risks. Risk management strategies include an FDA-approved drug label,

  which clearly describes the drug’s benefits and risks, and how the risks can be

  detected and managed. Sometimes, more effort is needed to manage risks. In these

  cases, a drug maker may need to implement a Risk Management and Mitigation

  Strategy (REMS).” 30




  28
     Development & Approval Process (Drugs), U.S. Food & Drug Admin.,
  https://www.fda.gov/drugs/developmentApprovalProcess/default.htm (last updated Aug. 8,
  2022).
  29
       Id.
  30
       Id.

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        37. Based on this review, the Agency either: (1) approves the drug; (2) informs

  the sponsor that the drug is likely to be approved once certain deficiencies in the

  NDA are resolved; or (3) indicates that approval cannot be obtained without

  substantial additional data.

        38. The Agency follows a similar process in evaluating a supplemental NDA, in

  which a drug sponsor requests approval to make changes to the labeling of a

  previously approved drug, or to market the drug for a new indication.

        39. FDA has authority under Section 506 of the FDCA (codified at 21 U.S.C. §

  356) and its “Subpart H” regulations (21 C.F.R. §§ 314.500–560) to expedite

  approval of a new drug if it is a “promising therap[y] that treat[s] a serious or life-

  threatening condition and provide[s] therapeutic benefit over available therapies.”31

        40. The Agency can condition approval for an NDA on the adoption of certain

  safety elements (i.e., ETASU), such as a restricted distribution scheme. Until 2007,

  FDA’s primary authority to impose such elements was derived from the Subpart H

  regulations. However, this authority was effectively replaced by the REMS statute,

  described below, which was adopted as part of the Food and Drug Administration

  Amendments Act of 2007 (“FDA Amendments Act”).




  31
       Id.

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     41. Section 909 of the FDA Amendments Act states that all drugs licensed before

  March 2008 that were approved under Subpart H with ETASU would be

  automatically deemed to have an approved REMS in place. The Agency can,

  however, impose a REMS for any drug that fits the statutory criteria, not only those

  drugs originally approved under Subpart H.

     B. The REMS Statute

     42. The FDA Amendments Act amended the FDCA to add a new section 505-1

  (codified at 21 U.S.C. § 355-1) authorizing the Secretary of HHS, in consultation

  with FDA’s Office of New Drugs and the Office of Surveillance and Epidemiology,

  to impose a REMS if—and only if—“necessary to ensure that the benefits of a drug

  outweigh [its] risks . . . .” 21 U.S.C. § 355-1(a)(1).

     43. To determine whether a REMS is necessary, the Secretary must consider six

  factors: (1) “[t]he estimated size of the population likely to use the drug involved,”

  (2) “[t]he seriousness of the disease or condition that is to be treated with the drug,”

  (3) “[t]he expected benefit of the drug with respect to such disease or condition,” (4)

  “[t]he expected or actual duration of treatment with the drug,” (5) “[t]he seriousness

  of any known or potential adverse events that may be related to the drug and the

  background incidence [i.e., frequency] of such events in the population likely to use

  the drug,” and (6) “[w]hether the drug is a new molecular entity.” Id.



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     44.A REMS may include any or all of the following: a medication guide and/or

  patient package insert; a communication plan; and elements to assure safe usage (i.e.,

  ETASU), such as a restricted distribution scheme. Id. § 355-1(e)-(f).

     45.ETASU are the most restrictive and burdensome type of REMS. The FDCA

  authorizes the Agency to impose ETASU only where “necessary to assure safe use

  of the drug, because of its inherent toxicity or potential harmfulness,” id. § 355-

  1(f)(1) (emphasis added), and only if the drug is “associated with a serious adverse

  drug experience,” id. § 355-1(f)(1)(A), which is defined by statute as an adverse

  event associated with use of the drug that results in death, the immediate risk of

  death, inpatient hospitalization or prolonging existing hospitalization, a persistent or

  significant incapacity or substantial disruption of the ability to conduct normal life

  functions, a congenital anomaly or birth defect, or a medical or surgical intervention

  to prevent these outcomes, id. § 355-1(b)(4).

     46.Moreover, FDA may impose ETASU only where “required as part of [a]

  strategy to mitigate a specific serious risk”—i.e., a “serious adverse drug

  experience,” id. § 355-1(b)(5)—“listed in the labeling of the drug,” and the risk must

  be sufficiently great that FDA would not approve, or would withdraw approval for,

  the drug absent the ETASU. Id. § 355-1(f)(1)(A) (emphasis added).

     47.Congress imposed several additional requirements to ensure that FDA

  appropriately balances such an inherently toxic drug’s benefits against its “serious

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  risks.” The ETASU requirements must “be commensurate with the specific serious

  risk[s]” listed in the drug’s labeling, and may “not be unduly burdensome on patient

  access to the drug, considering in particular . . . . patients who have difficulty

  accessing health care (such as patients in rural or medically underserved areas).” Id.

  §§ 355-1(f)(2)(A), (C) (emphases added). In addition, “to the extent practicable, so

  as to minimize the burden on the health care delivery system,” ETASU must

  “conform with elements to assure safe use for other drugs with similar, serious

  risks.” Id. § 355-1(f)(2)(D).

     48.A modification or removal of a REMS may be initiated by a “responsible

  person” (i.e., the drug’s sponsor) or by the Secretary of HHS, who may “require a

  responsible person to submit a proposed modification to the strategy.” Id. §§ 355-

  1(g)(4)(A), (B).

     49.In addition, the Secretary of HHS must “periodically evaluate, for 1 or more

  drugs, the [ETASU] to assess whether the elements (i) assure safe use of the drug;

  (ii) are not unduly burdensome on patient access to the drug; and (iii) to the extent

  practicable, minimize the burden on the health care delivery system.” Id. § 355-

  1(f)(5)(B). Then, “considering such input and evaluations,” the Agency must

  “modify [ETASU] for 1 or more drugs as appropriate.” Id. § 355-1(f)(5)(C).




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                                FACTUAL ALLEGATIONS

       A. Mifepristone Regimen and Safety Record

       50. The current FDA-approved regimen for the medical termination of early

  pregnancy involves two drugs: (1) mifepristone (under the brand name Mifeprex or

  as a generic), which interrupts early pregnancy by blocking the effect of

  progesterone, a hormone necessary to maintain a pregnancy, and (2) misoprostol

  (under the brand name Cytotec® or as a generic), which causes uterine contractions

  that expel the pregnancy from the uterus. FDA expressly authorizes misoprostol for

  use as part of this regimen although misoprostol’s own marketing approval is only

  for the prevention of gastric ulcers.

       51. FDA has approved the use of this regimen through 70 days (i.e., 10 weeks)

  of pregnancy, when the overwhelming majority (more than 80%) of abortions

  occur. 32

       52. The FDA-approved regimen for mifepristone states that the patient initiates

  the abortion by taking one 200 mg tablet of mifepristone in a single oral dose on day

  one, and then 24–48 hours later takes four 200 mcg tablets of misoprostol buccally

  (i.e., by placing two pills in each cheek pouch—the area between the cheek and the

  gums—for 30 minutes and then swallowing any remnants with water or another

  32
     Katherine Kortsmit et. al., Ctrs. for Disease Control & Prevention, Abortion Surveillance –
  United States, 2020, 71 Morbidity & Mortality Weekly Report 1 (Nov. 25, 2022),
  https://www.cdc.gov/mmwr/volumes/71/ss/ss7110a1.htm.

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  liquid). The FDA-approved labeling does not specify where patients should be

  located when they take either medication. Most people will expel the pregnancy

  within 2 to 24 hours after taking the misoprostol. The patient is instructed to follow

  up with their health care provider approximately 7 to 14 days later to confirm that

  the termination of pregnancy was successful, but the FDA labeling no longer

  anticipates that this follow-up evaluation will occur in-person.

        53. Like all medication labels, the mifepristone labeling warns about potential

  risks associated with the drug. Its labeling lists as risks “serious and sometimes fatal

  infections or bleeding.” 33

        54. As FDA explained in its Summary Review Memorandum for Mifeprex in

  March 2016, which evaluated changes to the Mifeprex labeling and REMS, “there

  have been approximately 2.5 million uses of Mifeprex by U.S. women since the

  drug’s approval in 2000.” 34 During that time, FDA noted, medication abortion “has

  been increasingly used as its efficacy and safety have become well-established by

  both research and experience, and serious complications have proven to be

  extremely rare.” 35 The Agency further stated that “[t]he safety profile of Mifeprex is

  well-characterized and its risks well-understood after more than 15 years of


  33
       AR 0383–84.
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       AR 0422.
  35
       AR 0539.


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  marketing. Serious adverse events are rare and the safety profile of Mifeprex has not

  substantially changed.” 36

        55. Mifepristone is also FDA-approved under the brand name Korlym® in 300

  mg tablets for daily use by patients with endogenous Cushing’s syndrome to treat

  high blood sugar caused by high cortisol levels in the blood. Korlym is available

  only from a specialty pharmacy, but it is not subject to a REMS. A patient’s doctor

  submits a patient enrollment form and prescription for Korlym to a specialty

  pharmacy, which delivers the drug to the patient’s home. The patient is then

  responsible for taking one to four pills (300 mg to 1200 mg, 1.5 to 6 times the

  recommended dose for Mifeprex) daily at home according to their prescription. In

  its 2016 Medical Review of Mifeprex, the Agency observed that “Korlym is taken

  in higher doses, in a chronic, daily fashion unlike the single 200 mg dose of Mifeprex

  that is the subject of this supplement; the rate of adverse events with Mifeprex is

  much lower.”37

        56. Mifepristone is also frequently prescribed with misoprostol as part of a

  regimen for medical management of early pregnancy loss. SFP, ACOG, and other

  leading medical associations recommend that clinicians prescribing medications to

  treat a miscarriage (i.e., to completely evacuate the patient’s uterus) utilize the


  36
       AR 0681.
  37
       AR 0537.

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  combined mifepristone-misoprostol regimen whenever mifepristone is available.

  But, as ACOG notes in its Practice Bulletin on Early Pregnancy Loss, while “[t]he

  addition of a dose of mifepristone (200 mg orally) 24 hours before misoprostol

  administration may significantly improve treatment efficacy . . . the availability of

  mifepristone is limited by the [FDA]’s Risk Evaluation and Mitigation Strategy

  restrictions.” 38

       B. FDA Approval of Mifeprex and Imposition of the REMS

                  1. Initial FDA Approval

       57. Mifepristone was approved for the medical termination of early pregnancy

  in France and China in 1988; in the United Kingdom in 1991; in Sweden in 1992;

  and in numerous other European countries throughout the 1990s.

       58. In March 1996, the Population Council, a non-profit organization based in

  the United States, sponsored an NDA for Mifeprex for use in combination with

  misoprostol for the medical termination of early pregnancy. In 1999, the Population

  Council contracted with Danco Laboratories, L.L.C. (“Danco”) for the

  manufacturing and marketing of the medication.

       59. There were three historically-controlled clinical trials on the safety and

  efficacy of the Mifeprex and misoprostol regimen presented to FDA as part of the

  38
     ACOG, Practice Bulletin No. 200: Early Pregnancy Loss (Nov. 2018), available at
  https://www.acog.org/clinical/clinical-guidance/practice-bulletin/articles/2018/11/early-
  pregnancy-loss.

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  original NDA application, together involving 4,000 women: two trials conducted in

  France, which were complete at the time of the application, and one then-ongoing

  trial in the United States for which summary data on serious adverse events were

  available. The Agency has explained that “[t]he data from these three clinical trials

  . . . constitute substantial evidence that Mifeprex is safe and effective for its approved

  indication in accordance with [the FDCA].” 39 As part of the NDA review, FDA also

  considered: (1) results from other European trials from the 1980s and 1990s in which

  mifepristone was studied alone or in combination with misoprostol or similar drugs;

  (2) a European postmarket safety database of over 620,000 women who used

  medication to terminate a pregnancy (approximately 415,000 of whom had received

  a mifepristone/misoprostol regimen); and (3) data on the drug’s chemistry and

  marketing.

        60. Four years later, in September 2000, FDA granted final marketing approval

  for Mifeprex for use in combination with misoprostol for the termination of

  pregnancy up to 49 days.

        61. Despite the strong findings on the safety and efficacy of Mifeprex from

  clinical trials and European post-market experience, and despite the fact that the

  approval process was not expedited, the Agency approved Mifeprex under Subpart



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       AR 0863.

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  H (which provides for accelerated approval—though, in fact, this four-year process

  was not expedited) and imposed ETASU—a restricted distribution system—as a

  condition of approval.

        62. The ETASU imposed at the time of Mifeprex’s original approval are

  substantively identical to the ETASU that FDA renewed in 2011 and again in 2016,

  described in detail infra.

        63. According to a report by the U.S. Government Accountability Office

  (“GAO”), FDA stated that Mifeprex fit within the scope of Subpart H because

  unwanted pregnancy poses a risk of serious or life-threatening complications,

  Mifeprex terminates an unwanted pregnancy, and Mifeprex allows patients to avoid

  the risks incident to a surgical abortion procedure. 40 FDA further stated that the

  restricted distribution scheme was necessary to ensure patient safety, and that

  approving Mifeprex under Subpart H would allow FDA to impose comparable

  restrictions on any future generic mifepristone products. 41

        64. The Agency’s decision to subject Mifeprex to an ETASU under Subpart H

  was highly unusual. In the fifteen years from 1992 (the year the Subpart H

  regulations were promulgated) to February 2007 (just before the creation of the

  40
     U.S. Gov’t Accountability Office, Food and Drug Administration: Approval and Oversight of
  the Drug Mifeprex, GAO-08-751, 22 (Aug. 2008), available at
  http://www.gao.gov/new.items/d08751.pdf.
  41
       Id. at n.41.


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  REMS statute), only seven NDAs, including Mifeprex, were approved subject to

  ETASU under Subpart H. 42 By comparison, there were 961 NDAs approved in the

  roughly thirteen years from January 1993 to September 2005.43

        65. Though noting its objections, the Population Council agreed to the

  restrictions in September 2000, and Danco began distribution of Mifeprex in

  November 2000. The Population Council subsequently transferred ownership of the

  NDA to Danco.

                     2. 2008 and 2011 Imposition of the Mifeprex REMS

        66. In a rule released in March 2008 pursuant to the FDA Amendments Act, the

  Agency identified Mifeprex as one of the drugs deemed to have an approved REMS

  in effect because it already had ETASU in place under Subpart H. Mifeprex

  continued to be distributed subject to the same restrictions under which it was

  originally approved.

        67. In 2011, FDA issued a new REMS for Mifeprex incorporating the same

  restrictions under which the drug was approved eleven years earlier. Specifically,

  the Mifeprex REMS approved in 2011 required three elements:

        68. First, a Medication Guide to be dispensed with each Mifeprex prescription.



  42
       Id. at n.6, 27.
  43
    U.S. Gov’t Accountability Office, New Drug Development: Science, Business, Regulatory,
  and Intellectual Property Issues Cited as Hampering Drug Development Efforts, GAO-07-49, 20
  (Nov. 2006), available at http://www.gao.gov/new.items/d0749.pdf.

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     69. Second, the 2011 REMS included three types of ETASU (A, C, and D):

         ETASU A required clinicians to self-certify before they could prescribe

           Mifeprex. To be certified, the provider completed and faxed to the

           Mifeprex distributor a one-time Prescriber’s Agreement, agreeing that they

           met the qualifications and would follow the guidelines outlined in the

           Prescriber’s Agreement. These guidelines required prescribers to attest

           that they had the ability to date a pregnancy; had the ability to diagnose an

           ectopic pregnancy; had made plans for the patient to receive surgical

           abortion care in cases of incomplete abortion or severe bleeding, and to

           ensure the patient has access to medical facilities equipped to provide

           blood transfusions and resuscitation, if necessary; and had read and

           understood the prescribing information for Mifeprex. In addition, the

           prescriber agreed to provide the patient with the Medication Guide and

           Patient Agreement, give her an opportunity to read and discuss them,

           obtain her signature on the Patient Agreement, and then sign it as well;

           notify the manufacturer of any cases of incomplete abortion,

           hospitalization, transfusion, or other serious event; and record the unique

           serial number on each package of Mifeprex in each patient’s record.

         ETASU C restricted where a patient could receive Mifeprex once

           prescribed. Under ETASU C, Mifeprex could be dispensed only in certain

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            health care settings, specifically clinics, medical offices, and hospitals, by

            or under the supervision of a prescriber specially certified under ETASU

            A. Mifeprex could not be dispensed through retail pharmacies.

         ETASU D placed additional requirements on the patient receiving

            Mifeprex. Under ETASU D, Mifeprex could be dispensed only to a patient

            who had completed and signed a Patient Agreement form, a copy of which

            was required to be placed in her medical record, and who had been

            provided a copy of the Medication Guide.

     70. Third, an Implementation System, under which distributors agreed to ship

  the drug only to site locations identified by specially certified prescribers in signed

  Prescriber’s Agreements; maintain secure and confidential records of shipments; and

  follow all distribution guidelines, including for storage, tracking, proof of delivery,

  and controlled returns.

     71. Fourth, as is typical for any REMS, the sponsor was required to submit a

  REMS “assessment” to FDA one year from the date of the initial approval of the

  REMS and every three years thereafter.

                3. 2016 Mifeprex Labeling Changes and REMS Assessment

                         a. Requested Changes to Mifeprex Label and REMS

     72. Off-label use of drugs—i.e., in accordance with prevailing clinical evidence,

  using a medication for a different indication or in a different regimen than that listed

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  on the FDA-approved labeling—is extremely common and widely accepted in the

  United States. Thus, shortly after FDA approved Mifeprex in 2000, abortion

  providers started prescribing the evidence-based protocol (using 200 mg of

  mifepristone) rather than the regimen listed on the labeling (using 600 mg of

  mifepristone). However, after several states banned off-label use of mifepristone—

  forcing patients to use an outdated regimen that was less safe and less effective than

  prevailing practice—in May 2015, Danco submitted a supplemental NDA to FDA

  proposing to update the labeling to reflect evidence-based practice across the

  country. In July 2015, Danco also submitted its statutorily required REMS

  assessment, proposing minor modifications to the REMS (primarily to ensure that

  the language used in the prescriber and patient agreement forms reflected the

  proposed changes to the labeling).

     73. This submission prompted a top-to-bottom review of the Mifeprex labeling

  and REMS by FDA in 2015-2016. As part of that review, the Agency stated that it

  considered three letters submitted by more than 40 medical experts, researchers,

  advocacy groups, and professional associations—including Plaintiff SFP—who

  asked, inter alia, that the REMS be eliminated.

     74. Other signatories requesting that FDA eliminate the Mifeprex REMS

  included ACOG, the leading professional association of physicians specializing in

  the health care of women, which represents more than 60,000 physicians and

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  partners in women’s health; the American Public Health Association (“APHA”), the

  nation’s leading public health organization; the Director of Stanford University

  School of Medicine’s Division of Family Planning Services and Research; the Chair

  of the Department of Obstetrics and Gynecology at the University of New Mexico

  School of Medicine; and the Senior Research Demographer in the Office of

  Population Research at Princeton University.

        75. The Agency’s March 2016 Cross Discipline Team Leader Review

  Memorandum for Mifeprex (“2016 Team Leader Review”), in a section entitled

  “Advocacy Group Communications,” noted:

                  The Agency received three letters from representatives
                  from academia and various professional organizations,
                  including [ACOG], [APHA], the National Abortion
                  Federation (NAF), Ibis Reproductive Health and Gynuity
                  [Health Projects]. In general, these advocates requested
                  FDA to revise labeling in a manner that would reflect
                  current clinical practice, including the new dose regimen
                  submitted by the Sponsor, and proposing to extend the
                  gestational age through 70 days. Other requests were that
                  the labeling not require that the drug-taking location for
                  both Mifeprex and misoprostol be restricted to the clinic,
                  and that labeling not specify that an in-person follow-up
                  visit is required. The advocates also requested that any
                  licensed healthcare provider should be able to prescribe
                  Mifeprex and that the REMS be modified or eliminated, to
                  remove the Patient Agreement and eliminate the
                  prescriber certification, while allowing Mifeprex to be
                  dispensed through retail pharmacies. (emphasis added).44


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       AR 0465.

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        76. In FDA’s 2016 Medical Review, in a section entitled “Methods,” the

  Agency further noted: “Articles were also cited in three letters sent to [Center for

  Drug Evaluation and Research] Center Director Janet Woodcock, MD from 1)

  ACOG, 2) a group of academic professionals and women’s health non-profit

  organizations, and 3) thirty professional and academic organizations, all of which

  requested changes to the Mifeprex labeling and REMS.” 45

        77. Director Woodcock also directly acknowledged receipt of the letter

  submitted by thirty professional and academic organizations, including Plaintiff

  SFP. In a February 25, 2016, letter addressed to the individual serving as the

  liaison for those groups, she wrote:

                  Thank you for your letter dated February 4, 2016, to [then-
                  Acting FDA Commissioner] Dr. Ostroff, Dr. Califf, and
                  me with recommendations to lift the Risk Evaluation and
                  Mitigation Strategy (REMS) for Mifeprex (mifepristone),
                  and to extend the indicated use of Mifeprex through a
                  gestational age of 70 days. Dr. Ostroff has asked me to
                  respond on behalf of the FDA because the Center for Drug
                  Evaluation and Research is responsible for regulating all
                  drugs, including mifepristone. Please share this response
                  with your cosigners. In your letter, you strongly
                  encouraged FDA to revise the mifepristone label and
                  eliminate the REMS restrictions, especially the Elements
                  to Assure Safe Use [ETASU] . . . . You also recommended
                  not restricting the location where the patient should take
                  these drugs . . . . Moreover, you proposed that any licensed
                  health care provider should be able to prescribe
                  mifepristone, and that it be available through pharmacies

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       AR 0550.

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                  as well as provider offices. Your letter has been shared
                  with the appropriate FDA staff and will be carefully
                  reviewed.46

        78. The letter submitted by Plaintiff SFP argued, inter alia:

                  In the 15 years since mifepristone’s approval, multiple
                  clinical trials, dozens of studies, and extensive experience
                  across the globe have confirmed the FDA’s finding that
                  mifepristone is a safe and reliable method of abortion.
                  Studies have shown that mifepristone in combination with
                  misoprostol is up to 99% effective for first trimester
                  abortion and that serious complications are rare. The
                  steady increase in use of medication abortion – now 23%
                  of U.S. abortions – shows that many women prefer this
                  option, and that it has the ability to improve access to
                  abortion, even in states with restrictive laws . . . . However,
                  many who could benefit from mifepristone still do not
                  have access to it due to multiple types of restrictions,
                  including those required by the FDA . . . . As policy,
                  advocacy, social science, research, and academic
                  organizations, we ask the FDA to consider the substantial
                  evidence presented in the [letter previously submitted by
                  academic professionals and women’s health non-profit
                  organizations], alongside the burdens that the REMS and
                  the label’s 49-day gestational age indication place on
                  patient access, which we describe here. The FDA held a
                  public meeting in October 2015 to discuss improving
                  patient access to drugs under REMS, evidencing the
                  Agency’s own awareness of patient burden caused
                  specifically by restrictions imposed under REMS. We
                  applaud these efforts and urge the FDA to use its
                  regulatory authority to remove the medically unnecessary
                  barriers to mifepristone. 47



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       AR 1265.
  47
       AR 1254.

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        79. SFP’s letter also explained in detail why the Mifeprex REMS with ETASU

  harms patient access to Mifeprex. In particular, SFP’s letter stated that ETASU C,

  which restricted where Mifeprex could be dispensed, “significantly curtails

  mifepristone’s potential to expand patient access to abortion care” because it “[is] a

  burden to providers and, therefore, deter[s] some health care providers from

  offering medication abortion.”48 They explained:

                  When fewer providers are willing to stock mifepristone in
                  their offices because of the REMS and ETASU, fewer
                  patients can access medication abortion. In some cases this
                  requirement may also force the patient to make an
                  unnecessary visit to a clinic, medical office, or hospital to
                  pick up the medication, rather than being able to pick up
                  an order called into a pharmacy. This requirement is
                  especially significant in underserved and rural areas where
                  access to a health care provider is already difficult, and for
                  those with low incomes for whom taking off work or
                  getting to a provider multiple times in short order is
                  impossible due to cost or family needs . . . . [T]he majority
                  of people who seek abortion care are already in difficult
                  financial situations, and are disproportionately people of
                  color. Costly and unnecessary visits to the doctor
                  significantly increase financial and logistical burdens for
                  these individuals and communities.49

        80. SFP’s letter explained why ETASU A, the Prescriber’s Agreement, “is

  unnecessary for the safe dispensation of mifepristone,” noting, inter alia, that

  “health care professionals are already subject to many laws, policies, and ordinary


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       AR 1255.
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       AR 1255–56.

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  standards of practice that ensure they can accurately and safely understand and

  prescribe medications. Provider certification is not required for health care

  professionals to dispense other drugs, including drugs that carry black box, or

  boxed, warnings about their medical risks.” 50

        81. SFP and the other signatories further argued that the Prescriber’s

  Agreement

                  forces providers to identify themselves as abortion
                  providers to a centralized entity (Danco Laboratories)
                  inspected and regulated by the FDA, which could
                  discourage some from offering medication abortion care
                  to their patients. In 2014, more than half of U.S. health
                  care facilities that provide abortions (52%) experienced
                  threats and other types of targeted intimidation, and one in
                  five experienced severe violence, such as blockades,
                  invasions, bombings, arsons, chemical attacks, physical
                  violence, stalking, gunfire, bomb threats, arson threats, or
                  death threats. Robert Dear’s November 27, 2015, standoff
                  at a Planned Parenthood health center in Colorado, which
                  resulted in three deaths, provides one recent and chilling
                  example of anti-abortion violence. Given such escalating
                  harassment and violence against known abortion
                  providers, clinicians may be understandably reluctant to
                  add their names to a centralized database of mifepristone
                  providers.51



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     AR 1256. According to FDA, a “boxed” or “black box warning” “appears on a prescription
  drug’s labeling and is designed to call attention to serious or life-threatening risks.” U.S. Food &
  Drug Admin., Consumer Health Information, A Guide to Drug Safety Terms at FDA 2 (Nov.
  2012), available at
  https://www.fda.gov/downloads/forconsumers/consumerupdates/ucm107976.pdf.
  51
       AR 1256.


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        82.The letter also noted that “[t]he Prescriber’s Agreement would be

  incompatible and unnecessary if there were an expanded distribution system.” 52

        83. Finally, the letter requested that the Agency remove ETASU D, the Patient

  Agreement, which is “medically unnecessary and interferes with the clinician-

  patient relationship.” 53

                          b. FDA’s 2016 Approval of Revised Label

        84. FDA adopted nearly all of Danco’s proposed labeling changes (discussed

  supra at ¶ 72), including reducing the recommended dosage of mifepristone from

  three 200 mg tablets to one 200 mg tablet and removing the reference to the patient’s

  follow-up assessment—to assure completion of the abortion seven to fourteen days

  after taking the mifepristone—as an in-person examination.

        85. FDA also approved two changes regarding where the patient takes the

  mifepristone and misoprostol. First, the labeling no longer stated that the patient

  takes the mifepristone and misoprostol “at [their] provider’s office.” Rather,

  although health care providers were still required to dispense the Mifeprex only in

  certain medical facilities according to the REMS, the updated labeling no longer

  specified where they take the pill; it simply stated that the patient takes the



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       Id.
  53
       AR 1257.


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  mifepristone in a single oral dose on “Day One,” and then takes four tablets of

  misoprostol by the buccal route 24-48 hours later.54 The labeling advises the health

  care provider to “discuss with the patient an appropriate location for her to be when

  she takes the misoprostol, taking into account that expulsion [i.e., the miscarriage]

  could begin within 2 hours of administration.”55

        86. In addition, the labeling clarified that mifepristone can be safely used

  through 70 days of pregnancy (rather than 49).56 The Agency concluded in its 2016

  Medical Review that, based on the scientific evidence, “[m]edical termination of

  pregnancies through 70 days gestation is safe and effective and should be

  approved.”57

                            c. FDA’s 2016 Reauthorization of the REMS

        87. As part of its review of the proposed labeling changes, the Agency undertook

  to “assess[] the current REMS program to determine whether each Mifeprex REMS

  element remains necessary to ensure that the drug’s benefits outweigh the risks.”58

  This assessment was conducted by a multidisciplinary reviewing team and elevated

  to the Commissioner of FDA, a political appointee—Defendant Robert Califf, who


  54
       AR 0385.
  55
       Id.
  56
       AR 0383, 0384, 0391, 0399.
  57
       AR 0548.
  58
       AR 0375.

                                             37
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  would later also helm FDA at the time of the 2023 REMS updates―who gave

  specific feedback on proposed changes to the Mifeprex REMS.

        88. FDA reviewers met on January 15, 2016, “to discuss proposed revisions to

  the REMS,” and the Agency’s review process was documented in detail in at least

  seven internal memoranda (attached to Plaintiffs’ original complaint as Exhibits A,

  C-F, J-K). In evaluating each element of the REMS, the Agency considered, inter

  alia, “safety data gathered over the past 16 years since approval, and information

  regarding current clinical practice.”59

        89. Following this comprehensive review, the Agency “determined that a REMS

  continues to be necessary to ensure the safe use of Mifeprex,” and reauthorized the

  REMS program, including all of the ETASU, with only minor modifications.60

        90. The reauthorization of the REMS in March 2016 constituted a final agency

  action. It marked the consummation of the Agency’s decision-making process and

  was a decision from which legal consequences flowed.

        91. The Agency made the following modifications to the REMS: (1) revisions

  to the language in the Prescriber’s Agreement form; (2) removal of the Medication

  Guide as a REMS element; (3) updating of the REMS goals to reflect these changes;



  59
       AR 0702.
  60
       AR 0849.


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  and (4) removal of the additional adverse event reporting requirements, other than

  with respect to deaths. 61 The stated goal of the 2016 Mifeprex REMS program was

  “to mitigate the risk of serious complications associated with Mifeprex by: (a)

  Requiring health care providers who prescribe Mifeprex to be certified in the

  Mifeprex REMS Program[,] (b) Ensuring that Mifeprex is only dispensed in certain

  healthcare settings by or under the supervision of a certified prescriber[,] [and] (c)

  Informing patients about the risk of serious complications associated with

  Mifprex.” 62

        92. The Agency’s multidisciplinary team of reviewers had also recommended

  eliminating ETASU D, the Patient Agreement form, because they concluded that it

  was no longer necessary. As Director Woodcock explained in a March 28, 2016,

  internal memorandum, Agency staff “found that the information contained in the

  Patient Agreement Form [required by the REMS] is generally duplicative of

  information in the Medication Guide and of information and counseling provided to

  patients under standard informed consent practices for medical care and under

  professional practice guidelines.”63 Agency reviewers observed that “[i]t is standard

  of care for patients undergoing pregnancy termination to undergo extensive


  61
       AR 0680–81; see also AR 0688.
  62
       AR 0404.
  63
       AR 0674.


                                           39
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  counseling and informed consent,”64 and noted that “FDA has removed REMS

  requirements in other programs based on the integration of the REMS safe use

  condition into clinical practice.”65 The Agency’s 2016 Summary Review

  “concur[red] with the clinical review team that the Patient Agreement Form, which

  requires a patient’s signature, does not add to safe use conditions for the patient for

  this REMS and is a burden for patients.”66

        93. However, “[a]fter being briefed on the planned changes to the NDA that the

  Center [for Drug Evaluation and Research] was considering, the Commissioner [of

  FDA] . . . requested that the Patient Agreement Form be retained as an element of

  the REMS.”67 Therefore, Director Woodcock “asked [Agency staff] to include a

  Patient Agreement Form in the REMS for Mifeprex,” which they did.68

        94. It is extremely rare that the FDA Commissioner, a political appointee, would

  weigh in on a REMS assessment. This unusual interference is consistent with the

  Agency’s conduct denying the application to make Plan B® (commonly known as

  “the morning after pill”), which is used to prevent pregnancy, available over-the-

  counter with no age restrictions—where the U.S. District Court for the Eastern


  64
       AR 0437.
  65
       AR 0465.
  66
       AR 0437.
  67
       AR 0674.
  68
       Id.

                                             40
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  District of New York found “overwhelming evidence of political pressure

  underlying the agency’s actions.” Tummino v. Hamburg, 936 F. Supp. 2d 162, 166

  (E.D.N.Y. 2013) (finding that FDA did not have authority to mandate point-of-sale

  restrictions on levonorgestrel-based emergency contraception given the scientific

  data demonstrating that adolescents could safely use Plan B).

                                  d. Events Post-Dating Plaintiffs’ Filing

        95. In October 2017, Plaintiffs filed the instant matter.

        96. In 2019, FDA approved a generic version of mifepristone with substantively

  identical labeling, and established a single, shared system REMS encompassing both

  Mifeprex and the generic version that is substantively identical to the REMS

  approved for Mifeprex in 2016. The single, shared system REMS is known as the

  Mifepristone REMS Program. 69

        97. In March 2020, in response to the COVID-19 pandemic, Defendants FDA

  and HHS took extraordinary measures to promote the use of telemedicine and reduce

  the need for in-person health care visits, in order to mitigate viral exposure risks. For

  instance, FDA issued guidance declaring its intention not to enforce REMS

  requirements for in-person laboratory testing for the duration of the public health

  emergency, and the Secretary of HHS activated an emergency exception allowing


  69
       2023 REMS Review, supra note 8, at 6.


                                               41
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  health care providers to prescribe controlled substances, including opioids, via

  telemedicine without first conducting an in-person examination.70

       98. Leading medical associations and health care providers asked FDA to

  likewise exercise enforcement guidance with respect to the in-person dispensing

  ETASU for mifepristone.71 But FDA left that restriction in place, offering no

  explanation for its constructive denial—and continuing its singular treatment of

  mifepristone.

       99. In May 2020, ACOG led a coalition of plaintiffs in a challenge to the

  mifepristone in-person dispensing ETASU in the U.S. District Court for the District

  of Maryland, resulting in a preliminary injunction that blocked enforcement of this

  requirement for the six months the injunction was in place, and for the first time

  enabled mifepristone patients to obtain their medication from a mail-order

  pharmacy. ACOG v. FDA, 472 F. Supp. 3d 183 (D. Md. 2020), stayed, 141 S. Ct.

  578 (2021) (mem.).




  70
    U.S. Food & Drug Admin., Policy for Certain REMS Requirements During the COVID-19
  Public Health Emergency: Guidance for Industry and Health Care Professionals (Mar. 2020),
  https://www.fda.gov/media/136317/download; COVID-19 Information Page, Telemedicine, U.S.
  Drug Enf’t Admin., https://www.deadiversion.usdoj.gov/coronavirus.html#TELE (last visited
  Mar. 30, 2023).
  71
    See, e.g., Letter from Maureen G. Phipps, MD, MPH, FACOG, Judette Louis, MD, MPH, and
  Matt J. Granato, LLM, MBA, to Stephen M. Hahn, MD (Apr. 20, 2020), attached hereto as
  Suppl. Ex. F.


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        100.      On April 12, 2021, FDA announced that it intended to exercise

  enforcement discretion for the remainder of the COVID-19 Public Health

  Emergency with respect to the mifepristone in-person dispensing requirement. 72

        101.      On April 16, 2021, Plaintiffs moved for summary judgment in the

  instant matter. Shortly thereafter, FDA informed Plaintiffs that it was

  comprehensively reviewing the mifepristone REMS. On the condition that FDA

  would also “review any relevant data and evidence submitted by the Plaintiffs,” Joint

  Mot. Stay 2 (ECF 148), the parties jointly moved for a stay, which this Court granted

  on May 7, 2021. As FDA explains in its Frequently Asked Questions for

  mifepristone, this litigation was the catalyst for its REMS Review: “The agency’s

  comprehensive review of the Mifepristone REMS Program, which led to the

  agency’s December 16, 2021, decision that a modification is required, was related

  to the litigation in Chelius v. Becerra.” 73




  72
       2023 REMS Review, supra note 8, at 6.
  73
     Questions and Answers on Mifepristone for Medical Termination of Pregnancy Through Ten
  Weeks Gestation, U.S. Food & Drug Admin. (last updated Jan. 4, 2023),
  https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
  providers/questions-and-answers-mifepristone-medical-termination-pregnancy-through-ten-
  weeks-gestation (answer to question 29, under “Litigation and Other Legal Issues”; accord id.
  (answer to question 35, under “The January 2023 REMS Modification”).


                                                43
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        102.        In May 2021, FDA approved a supplemental new drug application

  seeking to modify the Patient Agreement Form for mifepristone to reflect gender-

  neutral language. 74

        103.        In August and September 2021, Plaintiffs submitted to FDA two letters

  containing evidence demonstrating that the mifepristone REMS is medically

  unnecessary and burdensome on patients (especially patients who face difficulties

  accessing health care) and on the health care delivery system itself. For instance,

  Plaintiffs’ letters included:

        • Statements opposing the mifepristone REMS by other leading medical
          associations, including the American Medical Association (“AMA”), ACOG,
          and the American Academy of Family Physicians (“AAFP”). 75

        • Specific examples of other medications posing risks greater than or
          comparable to that of mifepristone that are not subject to a REMS. 76

        • A study abstract showing that after Canada eliminated its restrictions on
          mifepristone in 2017 to allow normal prescribing, medication abortion
          remained extremely safe, with a major complication rate of 0.33%. 77

        • Sworn testimony from seven physicians in different states detailing how the
          mifepristone REMS prevented or substantially delayed them and other doctors
          they know from prescribing mifepristone, impeding patients’ access. For
          instance, Dr. Joey Banks cited specific examples of physicians who have told
          her that the reason they do not provide mifepristone is because they are

  74
       2023 REMS Review, supra note 8, at 5.
  75
       Chelius Plaintiffs’ Letter, supra note 10, at 1.
  76
       Id. at 3.
  77
       Id. at 2.


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            “worried” about being placed “on a list of abortion providers.” 78 Dr. Charisse
            Loder explained how it took years to make mifepristone available at the
            University of Michigan’s Women’s Clinic, including because of “concerns
            that the University would face legal liability if clinicians who were not acting
            pursuant to a REMS prescriber agreement prescribed this drug,” which a
            special taskforce spent “many meetings” discussing. 79 Dr. Jane Roe discussed
            how the patient agreement “actively undermines my informed consent process
            by forcing me to discuss with my patients information that is inconsistent with
            my clinical approach and increasingly out-of-step with the research on
            Mifeprex as science moves forward,” for instance by requiring patients to
            attest that they are having an abortion even if they are in fact using the
            medication to treat a miscarriage. 80

        • An analysis from a leading national expert in poverty and women’s welfare
          regarding how the REMS reduces patients’ access to mifepristone,
          particularly for patients with lower incomes and patients living in rural and
          medically underserved areas.

        104.       Other leading medical professional associations, such as ACOG, also

  submitted their own letters opposing the REMS. For instance, in a letter submitted

  on October 6, 2021, ACOG noted that “[t]he REMS and ETASU requirements for

  mifepristone are inconsistent with those for other medications with similar safety

  profiles, and create barriers to access without demonstrated improvements to patient

  safety or outcomes.” 81




  78
       Id. at App. 040–41.
  79
       Id. at App. 066–69.
  80
       Id. at App. 084–85 (emphasis in original).
  81
     Letter from Maureen G. Phipps, MD, MPH, FACOG, to Janet Woodcock, MD (Oct. 6, 2021),
  attached hereto as Suppl. Ex. G.

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        105.       FDA’s 2021 REMS Review memorandum states that the agency’s

  review encompassed a search of published literature through July 26, 2021, as well

  as “safety information collected during the COVID-19 public health emergency

  (PHE); the one-year REMS assessment report of the Mifepristone REMS Program;

  adverse event data; and information provided by advocacy groups, individuals and

  the Applicants [i.e., Danco and GenBioPro, which manufactures the generic].”

  FDA’s “review also included an examination of literature references provided by

  plaintiffs in the Chelius v. Becerra litigation discussed below.”82

        106.       In fact, FDA expressly omitted from its analysis much of the data and

  evidence provided by the Chelius Plaintiffs. FDA refused to consider, inter alia,

  “[i]nformation from survey studies or qualitative studies that evaluated perspectives

  on and/or satisfaction with medical abortion procedures from patients, pharmacists,

  clinic staff, or providers, even if the study assessed REMS ETASUs,” “[o]pinions,

  commentaries, or policy/advocacy statements,” and “[d]ata on the logistics of

  accessing abortion care in general, such as time to appointment or the distance

  traveled to obtain care.” 83 FDA refused to consider this information even though it

  is relevant to whether a REMS is “necessary” for mifepristone; whether the

  mifepristone ETASU are “commensurate with the specific serious risk[s]” listed in


  82
       2021 REMS Review, supra note 9, at 4.
  83
       Id. at 11–12 (emphasis added).

                                               46
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  the drug’s labeling, and/or “unduly burdensome on patient access to the drug,

  considering in particular . . . . patients who have difficulty accessing health care

  (such as patients in rural or medically underserved areas)”; and whether the ETASU

  “conform with elements to assure safe use for other drugs with similar, serious risks”

  “so as to minimize the burden on the health care delivery system.” Id. §§ 355-1(a)(1),

  (f)(2)(A), (C), (D).

     107.      On December 16, 2021, FDA completed its review of the Mifepristone

  REMS Program and determined that it would: retain the REMS Program; retain the

  prescriber certification ETASU; retain the patient agreement ETASU; remove the

  in-person dispensing ETASU; and add a new pharmacy certification ETASU. FDA

  sent REMS Modification Notification letters to the two drug application holders

  notifying them that the REMS Program must be retained with these modifications.

     108.      In June 2022, the drug application holders submitted supplemental new

  drug applications consistent with FDA’s REMS Modification Notification letters.

  Over the following months, the application holders held several meetings with FDA,

  responded to information requests by the Agency, and submitted several

  amendments to their supplemental applications.

     109.      On January 3, 2023, FDA completed a subsequent review

  memorandum (“2023 REMS Review”) and released an updated REMS for

  mifepristone. This constituted a final agency action. It marked the consummation of

                                           47
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  the Agency’s decision-making process and was a decision from which legal

  consequences flowed.

        C. The Mifepristone REMS Confers No Benefit on Patients and Does Not
           Satisfy the Statutory Requirements for a REMS with ETASU

                  1. A REMS is Not Necessary to Ensure That the Benefits of
                     Mifepristone Outweigh Its Risks

        110.      The FDCA allows the Agency to impose a REMS only when

  “necessary to ensure that the benefits of the drug outweigh the risks of the drug[.]”

  21 U.S.C. § 355-1(a)(1). None of the six factors the Secretary is statutorily required

  to consider in making this determination supports FDA’s decision to reauthorize the

  Mifepristone REMS Program in 2023:

        111.      “The estimated size of the population likely to use the drug

  involved,” 21 U.S.C. § 355-1(a)(1): Since Mifeprex’s approval in 2000 for use in

  the United States, medication abortion has, the agency noted, “been increasingly

  used as its efficacy and safety have become well-established by both research and

  experience, and serious complications have proven to be extremely rare.” 84 Between

  September 2000 and 2022, mifepristone had been used 5.6 million times in the

  United States..




  84
       AR 0539.

                                           48
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         112.        Statutory guidance released by FDA in April 2019 states that, in

  applying this REMS factor, FDA “considers, among other things, the extent to which

  that population includes patients expected to use the drug for unapproved uses and

  the risks associated with those uses.” 85 But unlike opioids, which comprised

  approximately 75% of REMS drugs as of 2019,86 patients use mifepristone only for

  its labeled indication—ending a pregnancy—or for other evidence-based

  reproductive health care like miscarriage care.

         113.        Many more people could potentially benefit from mifepristone. Indeed,

  the Guttmacher Institute has found that one in four women in the United States will

  have an abortion during her lifetime, and as SFP observed in its letter to the Agency,

  “[t]he steady increase in use of medication abortion . . . shows that many women

  prefer this option, and that it has the ability to improve access to abortion, even in

  states with restrictive laws.” 87

         114.        Because mifepristone has already been safely used by millions of U.S.

  patients for its approved indication or for another safe, evidence-based regimen




  85
     U.S. Food & Drug Admin., REMS: FDA’s Application of Statutory Factors in Determining
  When a REMS Is Necessary Guidance for Industry 9 (Apr. 2019), available at
  https://www.fda.gov/media/100307/download [hereinafter “FDA Statutory Factor Guidance”].
  86
       Joint Stip. of Facts ¶ 59.
  87
       AR 1254.

                                               49
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  endorsed by leading medical authorities like SFP and ACOG, and because increasing

  access to this medication would help many more, this factor weighs against a REMS.

        115.      “The seriousness of the disease or condition that is to be treated

  with the drug,” 21 U.S.C. § 355-1(a)(1): The Agency acknowledges that pregnancy

  is a serious condition. In a 2016 denial of a citizen petition seeking to withdraw FDA

  approval for mifepristone, FDA explained:

                  Pregnancy can be a serious medical condition in some
                  women. Pregnancy is the only condition associated with
                  preeclampsia and eclampsia and causes an increased risk
                  of thromboembolic complications, including deep vein
                  thrombophlebitis and pulmonary embolus. Additionally,
                  there is a significant risk of a major surgical procedure and
                  anesthesia if a pregnancy is continued; for 2013 (the most
                  recent data available), the Centers for Disease Control and
                  Prevention reported an overall 32.7 percent rate of
                  cesarean sections in the United States. Other medical
                  concerns associated with pregnancy include the following:
                  disseminated intravascular coagulopathy (a rare but
                  serious complication); amniotic fluid embolism; life-
                  threatening hemorrhage associated with placenta previa,
                  placenta accreta, placental abruption, labor and delivery,
                  or surgical delivery; postpartum depression; and
                  exacerbation or more difficult management of preexisting
                  medical conditions (e.g., diabetes, lupus, cardiac disease,
                  hypertension). In addition, approximately 50 percent of all
                  pregnancies in the United States each year are unintended.
                  According to the Institute of Medicine, women
                  experiencing an unintended pregnancy may experience
                  depression, anxiety, or other conditions.88



  88
       AR 0859.

                                               50
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        116.      Because mifepristone treats a serious condition, and thus offers a

  substantial potential benefit, this factor weighs against a REMS.

        117.      “The expected benefit of the drug with respect to such disease or

  condition,” 21 U.S.C. § 355-1(a)(1): In denying the citizen petition asking the

  Agency to withdraw the mifepristone approval, FDA—on the same day that it

  reauthorized the REMS—further explained: “[M]edical abortion through the use of

  Mifeprex provides a meaningful therapeutic benefit to some patients over surgical

  abortion.”89 For instance, in one of the clinical studies conducted in the U.S. shortly

  before Mifeprex’s approval,

                  medical termination of pregnancy avoided an invasive
                  surgical procedure and anesthesia in 92 percent of the
                  [study participants]. Complications of general or local
                  anesthesia, or of intravenous sedation (“twilight”
                  anesthesia), can include a severe allergic reaction, a
                  sudden drop in blood pressure with cardiorespiratory
                  arrest, death, and a longer recovery time following the
                  procedure. Medical (non-surgical) termination of
                  pregnancy provides an alternative to surgical abortion; it
                  is up to the patient and her provider to decide whether a
                  medical or surgical abortion is preferable and safer in her
                  particular situation.90

        118.      In addition, some people prefer medication abortion because it feels

  more natural, and allows them to pass the pregnancy in the privacy and comfort of



  89
       AR 0860.
  90
       Id.

                                              51
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  their home. Indeed, in its 2016 Medical Review, the Agency noted that “[t]he studies

  [supporting the Mifeprex labeling changes], including those of home use of

  mifepristone and misoprostol, show increased convenience, autonomy and privacy

  for the woman, a smaller impact on their lifestyles, and no increased burden on the

  healthcare system.” 91 In short, mifepristone allows patients to have an abortion in a

  private, comfortable, and safe location, on their own terms.

        119.      While misoprostol also has abortifacient properties acting alone, the

  combined regimen of mifepristone and misoprostol is the preferred regimen for

  medication abortion care and the most common regimen for medication abortion

  care in the United States; and is associated with fewer side effects than the

  misoprostol-only treatment.

        120.      Because the benefits that mifepristone offers to patients seeking to end

  an unwanted pregnancy without surgical intervention are significant and well-

  established, this factor weighs against a REMS.

        121.      “The expected or actual duration of treatment with the drug,” 21

  U.S.C. § 355-1(a)(1): mifepristone is a single 200 mg tablet that is only prescribed

  for a single use. Korlym, by contrast, is an identical product prescribed for chronic,

  daily use in dosages ranging from 300 to 1200 mg. Korlym is not subject to a REMS;



  91
       AR 0589.

                                              52
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  it is delivered to the patient’s home, and the patient is expected to take up to four

  pills daily per physician instruction. The label includes a boxed warning that Korlym

  may have abortifacient effects and that patients should not use it if they are

  pregnant, 92 and the Agency trusts patients to use it accordingly.

        122.      Because mifepristone is prescribed as a single tablet and poses virtually

  no risk of misuse, whereas an identical drug that is prescribed in higher doses for

  daily home administration is not subject to a REMS, this factor weighs against a

  REMS.

        123.      “The seriousness of any known or potential adverse events that

  may be related to the drug and the background incidence [i.e., frequency] of

  such events in the population likely to use the drug,” 21 U.S.C. § 355-1(a)(1): By

  FDA’s own admission, major adverse events associated with mifepristone are

  “exceedingly rare, generally far below 0.1% for any individual adverse event.”93

  Accordingly, the Agency concluded in March 2016 that it was appropriate to remove

  the requirement that Danco report any hospitalizations, blood transfusions, or other

  serious events relating to Mifeprex other than death, as the “FDA has received such

  reports for 15 years, and it has determined that the safety profile of Mifeprex is well-



  92
       AR 0269.
  93
       AR 0574.


                                              53
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  characterized, that no new safety concerns have arisen in recent years, and that the

  known serious risks occur rarely.” 94

        124.      Similarly, in December 2021, FDA confirmed that “[o]ur review of

  [mifepristone’s] postmarketing data indicates there have not been any new safety

  concerns with the use of mifepristone for medical termination of pregnancy through

  70 days gestation, including during the time when in-person dispensing was not

  enforced.”95

        125.      Mifepristone’s FDA-approved labeling explains that “[n]o causal

  relationship between the use of [mifepristone] and [serious or fatal infections or

  bleeding] has been established.”96 To the contrary, the FDA-approved Mifepristone

  Medication Guide acknowledges that the risks listed in the labeling are not inherent

  to mifepristone, but rather are risks associated with emptying a pregnant uterus by

  any means: “Although cramping and bleeding are an expected part of ending a

  pregnancy, rarely, serious and potentially life-threatening bleeding, infections, or

  other problems can occur following a miscarriage, surgical abortion, medical




  94
       AR 0535.
  95
    Letter from Patrizia Cavazzoni, MD, to Donna J. Harrison, MD & Quentin L. Van Meter, MD,
  FCP, Re: Docket No. FDA-2019-P-1534 26 [hereinafter “2021 AAPLOG Pet. Denial”], attached
  hereto as Suppl. Ex. H; accord 2021 REMS Review, supra note 9, at 22.
  96
       AR 384; accord AR 387, 398.


                                             54
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  abortion, or childbirth.” (emphasis added).97 In other words, there is a relatively high

  background incidence of such adverse events among pregnant people generally. 98

        126.       Moreover, the Agency acknowledges that “data from the medical

  literature and findings by the [U.S. Centers for Disease Control and Prevention

  (“CDC”)] suggest that the critical risk factor” in nearly all of the few cases of fatal

  infections associated with mifepristone “is pregnancy itself,” because similar

  infections “have been identified both in pregnant women who have undergone

  medical abortion and those who have not[.]” 99

        127.       FDA’s 2016 Medical Review also expressly concluded that “[m]edical

  abortion in adolescents appears to be at least as safe, if not safer, as in adult

  women.” 100

        128.       Because numerous studies and over two decades of clinical data in the

  United States confirm that mifepristone is safe—and that serious adverse events are

  rare, decreasing, and never shown to have been caused by mifepristone—this factor

  weighs against a REMS.



  97
       AR 383; accord AR 0398.
  98
    AR 0398 (“[R]arely, serious and potentially life-threatening bleeding, infections, or other
  problems can occur following a miscarriage, surgical abortion, medical abortion, or childbirth.”
  (emphasis added)); accord 2021 AAPLOG Pet. Denial, supra note 95, at 36.
  99
       AR 0880–81 & n.69.
  100
        AR 0603.


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        129.       “Whether the drug is a new molecular entity,” 21 U.S.C. § 355-

  1(a)(1): Mifepristone is not a new molecular entity. Mifepristone has been marketed

  in the United States since 2000, with no new safety concerns since 2005.101

  “Available information about” mifepristone is far from “limited,” and there is no

  “uncertainty about risks associated with the use of the drug that might emerge in the

  post-approval setting.” 102 Because mifepristone is a well-known compound, this

  factor weighs against a REMS.

        130.       Finally, because none of these factors supports maintaining the

  Mifepristone REMS Program, the implementation system and timetable for

  assessments from the drug manufacturer also are unnecessary. Indeed, as FDA’s

  2016 Medical Review acknowledged, even without a REMS, “the [drug

  manufacturer] will still be required by law, as is every NDA holder, to report serious,

  unexpected adverse events as 15-day safety reports, and to submit non-expedited

  individual case safety reports, and periodic adverse drug experience reports.”103




  101
        AR 0354.
  102
        FDA Statutory Factor Guidance, supra note 85, at 8.
  103
        AR 0535.

                                                  56
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                   2. The Mifepristone ETASU Are Not “Commensurate With” and
                      Do Not Mitigate the “Specific Serious Risk[s]” Listed in the
                      Labeling.

        131.       In violation of the FDCA, the mifepristone ETASU are not

  “commensurate with the specific serious risk[s]” listed in the labeling, 21 U.S.C. §

  355-1(f)(2)(A), which are “[s]erious and sometimes fatal infections or bleeding.”104

  To the contrary, the ETASU are disproportionate to, have no nexus with, and will

  not mitigate, the risks listed in the labeling.

        132.       Moreover, drugs whose risks are similar to or greater than those of

  mifepristone are not subject to comparable restrictions.

                      a. The Mifeprex ETASU Are Disproportionate Because Serious
                         Adverse Events Are “Exceedingly Rare”

        133.       The Agency concedes that serious adverse events associated with

  Mifeprex are “exceedingly rare.” 105 In its 2016 Medical Review, the Agency

  concluded: “Given that there have been over 2.5 million uses of Mifeprex by US

  women since its marketing in 2000, including the use of the [revised] dosing regimen

  and extended gestational age at many clinic/office sites, the numbers of

  hospitalizations, severe infections, blood loss requiring transfusion and ectopic

  pregnancy will likely remain acceptably low. The numbers of each of these adverse


  104
        AR 0383.
  105
        AR 0574.


                                             57
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  events appears to have remained steady over time, with a possible decrease in severe

  infections.”106

        134.       Similarly, as detailed supra ¶ 124, FDA found in 2021 that serious

  adverse events remained very low even when the in-person dispensing ETASU was

  eliminated, notwithstanding FDA’s insistence from 2000 until April 2021 that this

  requirement was essential for safe use.

        135.       In the nearly 22 years of U.S. post-marketing data available to FDA

  when it reauthorized the REMS in 2023, there were only 28 reported associated

  deaths out of 5.6 million uses—an associated fatality rate of 0.0005%.107 By

  contrast, the fatality rate associated with phosphodiesterase type 5 inhibitors for the

  treatment of erectile dysfunction (e.g., Viagra), which are not subject to a REMS, is

  estimated at 0.0026% of users, roughly 5 times the mifepristone-associated mortality

  rate.109

        136.       At least 9 of the reported deaths in women who had taken mifepristone

  involved events clearly unrelated to the medication: narcotic overdose or suspected




  106
        AR 0611.
  107
        AR 0609–10.
  109
     Gregory Lowe & Raymond A. Costabile, 10-Year Analysis of Adverse Event Reports to the
  Food and Drug Administration for Phosphodiesterase Type-5 Inhibitors, 9 J. Sex. Med. 265,
  268-69 (2012).


                                              58
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  homicide. 110 And FDA acknowledges that “[t]here is no information that use of

  Mifeprex and misoprostol caused” the “very small number” of deaths from

  infection.111 Rather, as explained supra ¶¶ 125–26, CDC findings and the medical

  literature suggest that pregnancy itself, not Mifeprex usage, was the “critical risk

  factor” in nearly all of the (very few) cases of fatal infection.112

        137.       Indeed, as FDA acknowledges, a woman is at least 14 times more likely

  to die if she carries a pregnancy to term than if she uses mifepristone to end a

  pregnancy. 113 Moreover, the two risks listed in the mifepristone labeling are

  associated with many common obstetrical and gynecological procedures, such as

  vaginal delivery, surgical or medical miscarriage management, or insertion of an

  intrauterine long-acting reversible contraceptive (“IUD”).

                       b. The ETASU Do Not “Mitigate” the Risks Listed in the
                          Mifepristone Labeling

        138.       An essential flaw in the Mifeprex REMS is that there is no nexus

  between the risks listed on the Mifeprex label and the ETASU—they do not serve to

  “mitigate” any such risks, as required by 21 U.S.C. § 355-1(f)(1)(A). Specifically:



  110
        Mifepristone U.S. Post-Marketing Adverse Events, supra note 3, at 1.
  111
        AR 0261.
  112
        AR 0880– 81 n.69.
  113
     AR 0859 & n.6 (citing Elizabeth G. Raymond & David E. Grimes, The Comparative Safety of
  Legal Induced Abortion and Childbirth in the United States, 119 Obstetrics & Gynecology 215,
  215 (2012)).

                                                  59
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                               i. ETASU D: Patient Agreement

        139.       Every one of the FDA experts who participated in the Agency’s formal

  March 2016 review for Mifeprex concluded that the Patient Agreement provides no

  medical benefit.

        140.       Those unanimous conclusions were amended only after defendant

  Commissioner Robert Califf requested that this ETASU be maintained nonetheless.

  The sole rationale for the Commissioner’s unusual intervention is documented in a

  memorandum from Director Woodcock, in which she states that “the Commissioner

  concluded that continuing the REMS requirement for a signed Patient Agreement

  form would not interfere with access and would provide additional assurance that

  the patient is aware of the nature of the procedure, its risks, and the need for

  appropriate follow-up care.” 115

        141.       Commissioner Califf made this request notwithstanding that

  medication abortion does not involve any “procedure,” only pills, and

  notwithstanding that FDA’s 2016 Summary Review “concur[red] with the clinical

  review team that the Patient Agreement Form, which requires a patient’s signature,”




  115
        AR 0674.


                                             60
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  is duplicative of existing informed consent laws and standards, “does not add to safe

  use conditions for the patient for this REMS[,] and is a burden for patients.”116

        142.       In its 2021 review, FDA “agree[d] that informed consent in medicine is

  an established practice” as a general matter, 117 and specifically found that a survey

  of abortion providers in the United States and Canada in 2017 “did reveal strong

  adherence to evidence-based guidelines.”118

        143.       Nevertheless, FDA noted that “removal of the in-person dispensing

  requirement could significantly increase the number of [mifepristone] providers to a

  larger group of practitioners,”119 and reasoned that the Patient Agreement ETASU

  will ensure that “each provider, including new providers, informs each patient of the

  appropriate use of mifepristone, risks associated with treatment, and what to do if

  the patient experiences symptoms that may require emergency care.”120

        144.       FDA offered no explanation at all for why a special counseling form is

  necessary to ensure adequate counseling by new prescribers with respect to the use,

  risks, and follow-up care for mifepristone—a medication with a well-established risk

  profile, which has been available in the United States for nearly a quarter of a


  116
        AR 0437, 0674.
  117
        2021 REMS Review, supra note 9, at 17.
  118
        Id.
  119
        Id. at 18; accord id. at 37; 2023 REMS Review, supra note 8, at 11– 12.
  120
        2021 REMS Review, supra note 9, at 18.

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  century—when FDA approves entirely new drugs all the time without a patient

  agreement form, even though every prescriber will be unfamiliar with that novel

  medication.

        145.        Moreover, mifepristone already has a special “medication guide” as

  part of its labeling that discusses mifepristone’s use, risks, and follow-up care. The

  2016 FDA review team specifically found the patient agreement form “duplicative”

  of the mifepristone medication guide, which “contains the same risk information

  covered under the Patient Agreement form,” 121 using patient-friendly language.122

  Yet FDA nowhere addressed this duplication in its 2021 or 2023 reviews.

                                ii. ETASU A: Special Certification for Prescribers

        146.        To become certified to prescribe mifepristone, health care providers

  must submit a form attesting that they (1) can assess the duration of pregnancy

  accurately; (2) can diagnose ectopic pregnancies; (3) can provide surgical

  intervention in cases of incomplete abortion or severe bleeding, or have made plans

  to provide such care through others, and to assure patient access to medical facilities

  equipped to provide blood transfusions and resuscitation, if necessary; and (4) have

  read and understood the prescribing information.



  121
        Joint Stip. ¶ 57.
  122
        Id. ¶ 41.


                                              62
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        147.       In 2016, the Agency’s only documented rationale for maintaining

  ETASU A was that it “ensures that Mifeprex can only be dispensed by or under the

  direct supervision of a certified prescriber”128—a pure tautology.

        148.       In 2023, FDA reauthorized this ETASU because its “review of the

  literature did not identify any studies comparing providers who met these

  qualifications with providers who did not. In the absence of such studies, there is no

  evidence to contradict our previous finding that prescribers’ ability to accurately date

  pregnancies, diagnose ectopic pregnancies, and provide surgical intervention or

  arrange for such care through others if needed, is necessary to mitigate the serious

  risks associated with the use of mifepristone in a regimen with misoprostol.”129

        149.       But FDA’s rationale is premised on two wholly unsupported, purely

  speculative premises: (1) that clinicians providing pregnancy-related care would not

  already possess these fundamental abilities; and/or (2) that, in the absence of this

  ETASU, clinicians would prescribe mifepristone despite lacking appropriate

  qualifications.

        150.       FDA’s explanation is medically unjustified for several reasons.




  128
        AR 0681.
  129
     2023 REMS Review, supra note 8, at 13–14; accord, e.g., id. at 36; accord 2021 AAPLOG
  Pet. Denial, supra note 95, at 23.

                                              63
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     151.      First, numerous other mechanisms, including licensing requirements,

  ethical and professional obligations, and malpractice liability, exist to ensure that

  health care providers practice only to the extent of their training and abilities. An

  attestation of competency provides no greater assurance that a health care provider

  will not provide care outside of their scope of practice than do these existing legal

  requirements and ethical norms.

     152.      Second, there are countless other drugs that require careful patient

  screening to ensure safe use, yet are not subject to ETASU. Indeed, clinicians are

  not required to make a comparable attestation of their qualifications before

  prescribing Korlym—which is the exact same product as Mifeprex (mifepristone),

  in higher doses.

     153.      Third, fulfilling these criteria requires no specialized medical expertise.

  FDA has conceded that any provider who is not comfortable using patient medical

  history or a clinical examination to assess the duration and location of a pregnancy

  can obtain that information by ordering an ultrasound.

     154.      Similarly, any provider can arrange for emergency care by referring

  patients to an emergency room in the rare event that such care is needed. Indeed, as

  FDA acknowledged in a citizen petition denial issued on the very same day the

  Agency completed its December 2021 REMS Review concluding that the Prescriber



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  ETASU must be retained: “It is common practice for healthcare providers to provide

  emergency care coverage for other healthcare providers’ patients.” 130

        155.       Fourth, as discussed infra, due to a number of factors, including the

  REMS, many patients are forced to travel outside their communities for abortion

  care. A patient who receives mifepristone from a REMS-certified provider outside

  her community and then initiates her medication abortion once she is back home

  generally will not (and should not) travel to seek in-person follow-up care from her

  REMS-certified prescriber; instead, she will receive any such follow-up care in her

  own community. The certification of the mifepristone prescriber thus has no bearing

  on the care the patient would receive in the unusual event of a complication.

        156.       Finally, reading and understanding the prescribing information for

  mifepristone is well within the scope of practice for any licensed prescriber.

                 iii. ETASU B: Pharmacy Certification

        157.       In order to dispense mifepristone, a pharmacy must become REMS-

  certified, which means agreeing to take on significant costs and burdens far beyond

  what is required for virtually every other prescription drug. These requirements

  include (but are not limited to) verifying that mifepristone prescriptions are written

  only by REMS-certified prescribers and storing prescriber certification information



  130
        2021 AAPLOG Pet. Denial, supra note 95, at 12.

                                                 65
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  in a manner that is both dynamic and confidential; tracking shipments of

  mifepristone by mail; engaging in two-way communications with the mifepristone

  prescriber regarding the timing of the medication’s delivery; “reporting any patient

  deaths” (with no further clarification as to what this reporting entails); and being

  regularly audited for REMS compliance.

        158.         FDA concedes that the Pharmacy Certification ETASU is burdensome

  and will deter pharmacies from dispensing mifepristone: the Agency

  “acknowledge[d] that the provision in the REMS related to pharmacies’ verification

  of prescriber enrollment will likely limit the types of pharmacies that will choose to

  certify in the REMS.”131 And FDA did not even account for any of the other burdens

  imposed by this ETASU beyond verifying prescriber certification, and their

  inevitable deterrence effect on pharmacy participation.

        159.         FDA justified adding this new ETASU based principally on its

  interaction with the prescriber certification requirement. FDA explained that

  “[w]ithout pharmacy certification, a pharmacy might dispense product that was not

  prescribed by a certified prescriber.”132 The purpose of this ETASU is to

  “incorporate[] pharmacies into the REMS, ensure[] that pharmacies are aware of and



  131
        2023 REMS Review, supra note 8, at 14.
  132
        Id. at 13.


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  agree to follow applicable REMS requirements, and ensure[] that mifepristone is

  only dispensed pursuant to prescriptions that are written by certified prescribers.”133

        160.   FDA nowhere addressed the fact that pharmacies had already been

  dispensing mifepristone for more than a year—from July 2020 until January 2021,

  and from April 2021 until December 2021—with no certification requirement and

  no increase in adverse events. Indeed, by January 3, 2023—when FDA completed

  its 2023 REMS Review, reauthorized the REMS, and for the first time imposed the

  Pharmacy Certification ETASU—pharmacies had been safely dispensing

  mifepristone without certification for well over two years.

                   c. Drugs That Pose Similar or Greater Risks Than Mifepristone
                      Are Not Subject to Comparable Restrictions

        161.   The FDCA requires that, “to the extent practicable,” ETASU “conform

  with elements to assure safe use for other drugs with similar, serious risks[.]” 21

  U.S.C. § 355-1(f)(2)(D). But most other drugs that pose similar or greater risks than

  mifepristone are not subject to comparable restrictions.

        162.   As of November 2019, fewer than 3% of FDA-approved prescription

  drug products were subject to a REMS, 75% of which were opioids.

        163.   Many drugs that have higher safety risks than mifepristone are

  permitted to be marketed without restrictions comparable to the Mifeprex REMS.


  133
        Id.

                                            67
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        164.       For instance, Viagra is associated with death in up to 0.0026% of users,

  roughly 5 times the mifepristone-associated mortality rate.136 And acetaminophen

  (Tylenol) toxicity is the most common cause of liver transplantation in the United

  States, and responsible for 56,000 emergency department visits, 2,600

  hospitalizations, and 500 deaths per year in this country. Yet, neither Viagra nor

  Tylenol has a REMS. 137

        165.       Similarly, as the Chelius Plaintiffs highlighted in their letter to FDA—

  and FDA nowhere addressed—many anticoagulant products, commonly known as

  “blood thinners,” are associated with “serious and fatal bleeding,” and, like

  mifepristone, carry warnings of that risk on their FDA-approved labels.138 But unlike

  mifepristone, anticoagulants are a frequent cause of emergency room visits for

  documented hemorrhage.139 Yet anticoagulants are available by prescription without


  136
        Lowe & Costabile, supra note 109, at 268-69.
  137
     Suneil Agrawal & Babak Khazaeni, Acetaminophen Toxicity, Nat’l Library of Med. (Aug. 1,
  2022), available at
  https://www.ncbi.nlm.nih.gov/books/NBK441917/#:~:text=It%20is%20responsible%20for%205
  6%2C000,is%20contained%20in%20combined%20products.
  138
     See, e.g., Coumadin® label, available at
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2011/009218s107lbl.pdf (containing
  boxed warning for, inter alia, “major or fatal bleeding”); Pradaxa® label, available at
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2015/022512s027lbl.pdf (warning of
  “serious and fatal bleeding”); Xarelto® label, available at
  https://www.xareltohcp.com/shared/product/xarelto/prescribing-information.pdf (same).
  139
     Nadine Shehab, et. al., US Emergency Department Visits for Outpatient Adverse Drug Events,
  2013-2014, 316 J. Am. Med. Ass’n 2115-25 (2016) (17.6% of emergency room visits based on
  adverse drug events in 2013-2014 were related to anticoagulants, and of those, roughly 80%
  involved documented hemorrhage).

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  a REMS, whereas Mifeprex is not.

        166.    The Chelius Plaintiffs also highlighted in their letter to FDA that

  Jeuveau® is indicated for a purely cosmetic purpose among a healthy population—

  the “temporary improvement in the appearance of moderate to severe glabellar lines”

  (i.e., lines between one’s eyebrows). It carries a black-box warning for

  “[s]wallowing and breathing difficulties” that “can be life threatening” if this

  botulinum toxin product spreads beyond the area of injection, and the labeling notes

  “there have been reports of death.”140 Yet FDA nowhere explained in its 2021 or

  2023 REMS reviews why a REMS is necessary for mifepristone but not for Jeuveau.

        167.     In sum, the Mifepristone REMS and its ETASU are medically

  unjustified restrictions on abortion, as evidenced both by the drug’s own record and

  by how FDA regulates other drugs with a safety profile comparable to or weaker

  than that of mifepristone.

        168.    These restrictions simply are not motivated by science.

        D. The Impact of the Mifepristone REMS on Plaintiffs, Plaintiffs’
           Members, and Plaintiffs’ Members’ Patients

                1. Harms Caused by the 2023 REMS

        169.    FDA’s 2023 REMS reauthorization extends many of the same kinds of




  140
     Jeuveau Prescribing Information,
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/761085s000lbl.pdf (Feb. 2019).

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  burdens on patients and the health care delivery system that FDA’s unique

  restrictions on mifepristone have imposed from the beginning.

     170.      First, by continuing to classify mifepristone as among the tiny fraction

  of drugs for which REMS restrictions are necessary—on par with dangerous opioids

  causing “staggering” numbers of deaths each year—FDA’s REMS reauthorization

  sends a false message about mifepristone’s safety that complicates, delays, and

  derails efforts by health care providers to prescribe, research, and/or provide

  trainings on mifepristone.

     171.      For instance, clinicians seeking to begin prescribing mifepristone at

  their hospital or clinic have been required by health system leadership and/or

  decision-making committees to put together special presentations on mifepristone

  safety that are not required for other drugs with safety records comparable to

  mifepristone before the health care provider is permitted to prescribe it and/or the

  health system pharmacy is permitted to stock it. Such bureaucratic hurdles delay—

  and in some cases entirely prevent—health care providers in providing mifepristone

  to their patients, and would not arise if mifepristone were not subject to a REMS.

     172.      As another example, clinicians in doctoral programs have been unable

  to complete research and training projects relating to mifepristone because of

  institutional concerns and stigma expressly relating to mifepristone’s classification

  as a REMS drug—e.g., requiring a doctoral student to seek Institutional Review

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  Board (“IRB”) approval for a project that would not otherwise necessitate IRB

  approval, because it involves “a REMS drug.”

     173.      Second, FDA’s REMS reauthorization still means that a clinician

  seeking to prescribe mifepristone often must involve many other colleagues in their

  health system—such as administrators, nurses, and information technology staff—

  in the provision of mifepristone, which can delay or altogether derail their ability to

  provide this medication to their patients.

     174.      For instance, because FDA requires mifepristone prescribers to be

  specially certified, health systems may need to develop special systems to track and

  update clinicians’ certifications. Because FDA requires mifepristone patients to sign

  a special counseling form, health care facilities that use electronic medical records

  must come up with a system for storing the signed Patient Agreement form in the

  patient’s medical record, and health care facilities that wish to utilize telemedicine

  for mifepristone must implement HIPAA-compliant technology to allow for patients

  to remotely sign the Patient Agreement.

     175.      These and other logistical and technological burdens imposed by the

  REMS—layered on top of the broader deterrent effect of the REMS classification—

  frequently prevent patients from obtaining a mifepristone prescription from their

  primary health care provider.



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        176.        Third, by maintaining the Prescriber Certification ETASU, FDA

  continues to substantially reduce the pool of qualified health care providers willing

  to prescribe mifepristone because many clinicians are fearful that they will face anti-

  abortion violence and harassment if their registration as a mifepristone prescriber

  were ever exposed. FDA’s own actions underscore the severity of this concern: the

  Agency redacted from the administrative record in this matter the names and offices

  of every one of its employees who has done any work relating to mifepristone. FDA

  explained that it feared that, “[i]n light of the violence and harassment surrounding

  the provision of abortion,” releasing this information—even subject to a protective

  order designed to ensure the confidentiality of that information—“could expose

  those employees to threats, intimidation, harassment and/or violence.”142

        177.        These fears are heightened now due to the growing criminalization and

  penalization of abortion care in many states across the country following Dobbs v.

  Jackson Women’s Health Org., with a particularly chilling effect on clinicians who

  hold medical licenses in multiple states, or medical residents who intend to

  eventually practice in a state with severe abortion restrictions. For instance, in recent

  years, several states have enacted laws allowing “bounty-hunter” vigilantes to drag

  into court anyone whom they suspect to have aided in the performance of an



  142
        Joint Stip. of Facts. ¶ 47.

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  unlawful abortion, with no opportunity for the person sued to recover their litigation

  costs and fees even if they ultimately prevail. See, e.g., Tex. Health & Safety Code

  § 171.208; Idaho Code Ann. § 18-8807.

        178.     Fourth, by maintaining the Patient Agreement ETASU, FDA also

  retained a de facto in-person pill pick-up requirement for patients seeking

  mifepristone who do not themselves have the technology for a remote signature—

  e.g., no access to a smartphone or computer—or who seek mifepristone at a health

  center that does not have the technology in place to enable HIPAA-compliant remote

  signatures. As detailed infra, this is one of the many ways in which the 2023 REMS

  disproportionately harms low-income communities and communities of color.

        179.     Fifth, the Patient Agreement ETASU undermines informed consent by

  requiring patients to review and sign a form containing fossilized science that may

  be inconsistent with their individual clinical circumstances. For example, the Patient

  Agreement states that the patient will take the misoprostol “24 to 48 hours” after

  taking the mifepristone. But some clinicians instruct patients to use an evidence-

  based protocol in which the misoprostol is taken simultaneously with mifepristone,

  or at another timeframe shorter than 24 hours, consistent with high-quality research

  and the patients’ individual circumstances. 143 At best, the Patient Agreement


  143
     See, e.g., Nat’l Abortion Fed., 2022 Clinical Practice Guidelines 19 (2022), available at
  https://prochoice.org/wp-content/uploads/2022-CPGs.pdf.

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  duplicates counseling that mifepristone prescribers would already do, consistent

  with professional and ethical standards. More often, it complicates and confuses the

  counseling—particularly for patients with limited English proficiency who need

  translation services.

     180.      The Patient Agreement is often particularly confusing and distressing

  for patients using mifepristone for miscarriage care, who must attest that they are

  taking the medication “to end [their] pregnancy,” even when this is false. Clinicians

  unwilling to require their patients undergoing miscarriages to sign a form containing

  knowingly false information about their medical condition and decision—or who

  work at a health care facility whose administration is concerned about the confusion

  or liability resulting from such a requirement—are unable to prescribe mifepristone

  to their patients experiencing early pregnancy loss at all.

     181.      Sixth, by compelling patients using mifepristone to sign and take with

  them a form stating that they have had an abortion, FDA’s REMS Reauthorization

  jeopardizes patients’ privacy—because of the risk that the form will inadvertently

  be found by others with whom the patient might not otherwise disclose their

  pregnancy and/or abortion decision. Relatedly, by requiring that patients sign and

  take with them a form in which they attest that they have had an abortion, this

  ETASU increases the risk that patients will face anti-abortion violence and

  harassment (even if they actually used the mifepristone for miscarriage treatment).

                                            74
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     182.      Seventh, the Pharmacy Certification ETASU imposes significant costs

  and burdens that deter pharmacies—especially smaller community pharmacies—

  from dispensing mifepristone, reducing patients’ access to this medication. In order

  to comply with this ETASU, pharmacies seeking to dispense mifepristone must have

  the infrastructure and human and financial resources to, inter alia, develop a system

  to confidentially maintain prescriber certifications; verify that any prescription sent

  in for mifepristone comes from a certified prescriber; if the prescription does not

  come from a certified prescriber, either contact the prescriber to try to verify their

  certification or inform the patient that the prescription cannot be filled (in either case,

  delaying the patient’s access); and train staff and prepare for special audits of their

  mifepristone REMS compliance procedures.

     183.      The Pharmacy Certification ETASU also necessitates that pharmacies

  commit to fill mifepristone prescriptions by mail using a carrier service that will

  ensure the medication is delivered within four calendar days, and if it appears the

  shipment may take more than four calendar days to arrive—e.g., due to a shipment

  delay or incomplete patient address—attempt to contact the prescriber to confirm

  “the appropriateness of dispensing mifepristone for patients who will receive the

  drug more than 4 calendar days after the date the pharmacy receives the

  prescription,” and then maintain records documenting the prescriber’s decision. By

  requiring that all shipments arrive within four calendar days except with documented

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  confirmation from the prescriber, the Pharmacy Certification ETASU necessitates

  that pharmacies use more expensive carrier services—and then either absorb those

  costs themselves (a further deterrent to become certified) or else pass those costs on

  to patients. This ETASU strips patients of the autonomy to choose a less expensive

  shipping option even if they know that, given the length of their pregnancy, receiving

  the medication in slightly more than 4 days would still be perfectly fine.

     184.      While some larger pharmacy chains or national mail-order pharmacies

  may be able to bear the financial and logistical burdens of the REMS requirements,

  mail-order delivery is not an appropriate option for many patients, such as those who

  are homeless or housing insecure or those living with an abusive partner or parent

  from whom they must keep their abortion decision private.

     185.      Eighth, by prohibiting all but certified pharmacies to dispense

  mifepristone, FDA’s REMS Reauthorization makes it practically impossible for

  many health care providers to know where to send the patient’s prescription for

  fulfillment, particularly if the patient does not live in the prescriber’s immediate area.

  There is no system to enable prescribers to know which pharmacies are certified.

  Without a REMS, clinicians can generally send in a prescription to the patient’s

  preferred pharmacy, which will fill the medication if they have it in stock; request

  the medication from their pharmaceutical vendor; or else transfer the prescription to

  another pharmacy able to fill it. But the Pharmacy Certification ETASU replaces this

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  common and common-sense process with confusion and delay, and will necessitate

  that busy health care providers call around to multiple pharmacies or try to do

  research online in order to determine where to send the patient’s prescription.

        186.        For the reasons described supra and others, the 2023 Mifepristone

  REMS Program unduly burdens patients’ access to a safe and effective medication,

  compounding the profound abortion access issues that already exist in the United

  States—including in states where abortion remains legal after Dobbs. The REMS

  thus specifically harms “patients who [already] have difficulty accessing health

  care.” 21 U.S.C. §355-1(f)(2)(C)(ii).

        187.        As the Chelius Plaintiffs highlighted in their 2021 submission to FDA,

  and FDA expressly ignored (see supra ¶¶ 103–06):

                    A nationally representative sample of 8,000 abortion
                    patients found that patients traveled, on average, 68 miles
                    round-trip to receive an abortion. In a majority of states, at
                    least 20% of reproductive-age women live more than 100
                    miles round-trip from the nearest abortion clinic. And
                    while rural areas are particularly lacking, patients in urban
                    areas also struggle. A 2018 study found that 27 major
                    cities have no publicly advertised abortion provider within
                    100 miles.144

        188.        Like all restrictions on abortion, the burdens of the Mifepristone REMS

  Program are not borne equally. As the Chelius Plaintiffs explained, restrictions that



  144
        Chelius Plaintiffs’ Letter, supra note 10, at 5; accord id. at App. 089-122.

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  necessitate that patients travel farther in order to find a mifepristone provider, or

  make an extra medically unnecessary trip to a health center just to sign a form, can

  make it “incredibly difficult and in some cases impossible” for patients with

  unwanted pregnancies to access any abortion care at all. 145

        189.          The REMS burdens are particularly harmful “[g]iven the mifepristone

  patient population.”146 As Plaintiffs explained:

                      [I]n 2014 (the most recent year for which such data are
                      available), 75 percent of abortion patients had incomes at
                      or below the U.S. Official Poverty Measure. Sixty percent
                      of abortion patients identify as people of color, including
                      53 percent of patients who identify as Black or Hispanic.
                      And 60 percent of abortion patients have at least one
                      child. 147

  By further reducing where abortion care is available in this country, the Chelius

  Plaintiffs told FDA, the REMS “imposes costs and burdens relating to

  transportation, childcare, and lost wages for missed work that many in this patient

  population simply cannot afford. Indeed, a robust body of research, spanning

  multiple states and decades, confirms that forcing patients to travel even slightly

  farther (e.g., 10 miles) delays or blocks patients from accessing desired

  abortions.”148

  145
        Id.
  146
        Id. at 5.
  147
        Id. at 5–6.
  148
        Id. at 6.

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     190.     In addition to reducing the number of mifepristone prescribers, the 2023

  REMS poses specific burdens for, inter alia, low-income populations (in which

  people of color are disproportionately represented because of structural racism),

  homeless populations (which disproportionately include LGBT people), people with

  limited English proficiency, and people living in abusive households. For example,

  without reliable and private access to a smartphone or computer with which to

  remotely sign the Patient Agreement form, patients are forced to make a wholly

  unnecessary trip to the health center when they could otherwise obtain their

  medication by mail or (potentially) at a local pharmacy. Likewise, people with

  housing insecurity who do not have a reliable mailing address must find and travel

  to a health center that stocks and dispenses mifepristone onsite when the burdens of

  the Pharmacy Certification ETASU prevent local retail pharmacies from stocking

  mifepristone. FDA failed to consider these and many other ways in which the

  mifepristone ETASU disproportionately harm patients that already face difficulties

  accessing healthcare.

              2. Illustrative Harms to Plaintiffs and Plaintiffs’ Members

     191.     Dr. Chelius is now able to prescribe mifepristone through a mail-order

  pharmacy, but he and his patients continue to experience harm as a result of the

  REMS. In particular, the REMS jeopardizes the privacy of Dr. Chelius’s patients

  who need medication abortion care. Kauai Veterans, where Dr. Chelius works, is

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  located in Waimea, a small town of fewer than 2,000 people on the western side of

  Kauaʻi. Kauai Veterans employs nearly 500 people across the island, with the

  majority working at its Waimea hospital and clinic site; many employees, including

  Dr. Chelius, live nearby in the Waimea area. Most members of the community have

  a family member, friend, or neighbor employed at the hospital. Dr. Chelius recently

  provided a medication abortion to a patient who is a member of hospital staff.

  Generally, patient records are maintained through an electronic medical system, but

  the system does not have the capacity to store the Patient Agreement form—a unique

  form generated outside of the hospital system (i.e., by FDA) that would need to be

  scanned in from a hard copy. In order to comply with the requirement in the

  Prescriber Agreement form that prescribers “ensure that the signed Patient

  Agreement Form is placed in the patient's medical record,” Dr. Chelius would have

  to involve administrative staff in creating a hard copy file for his patient, thus

  revealing her private medical decision to her colleagues. In addition to causing direct

  harm to this patient and jeopardizing Dr. Chelius’s relationship with someone who

  is both a patient and a colleague, Dr. Chelius is concerned about potential HIPAA

  implications of the Patient Agreement ETASU. In the insular community in which

  Dr. Chelius lives and works, there is a strong likelihood that similar privacy issues

  will arise again as a result of the REMS.



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     192.      At this time, there are no brick-and-mortar pharmacies on Kaua‘i that

  are dispensing mifepristone. Several pharmacies on the island have indicated

  publicly or to Dr. Chelius or his colleagues that they would be willing to dispense

  mifepristone, but are uncertain whether they will be able to fulfill the requirements

  of the Pharmacy Certification ETASU and are still navigating those barriers. As

  previously detailed in this litigation, Dr. Chelius is unable to procure, stock,

  dispense, and bill for mifepristone onsite at his hospital because of opposition to

  abortion by colleagues who would need to be involved in those tasks, and because

  of the confidentiality concerns that doing so would pose in his tight-knit community.

  Establishing retail pharmacy access for mifepristone on the island is therefore

  critical for many of Dr. Chelius’s patients for whom mail-order delivery is a poor

  option, for instance because they are homeless. Local access is particularly urgent

  for Dr. Chelius’s patients who are nearing the gestational age limit for mifepristone

  because of both the logistics and cost of expedited delivery to the island of Kaua‘i—

  with overnight delivery from the contiguous United States being virtually

  impossible, and exacerbated by the time difference.

     193.      SFP and CAFP each has members experiencing harm(s) traceable to

  the REMS, including many or all of the harms detailed supra. For instance:

     194.      Sarah McNeil, MD, is a member of both SFP and CAFP and a family

  medicine doctor. Among other work, Dr. McNeil provides primary care, including

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  mifepristone for abortion and miscarriage, within a large county health system in

  northern   California   primarily serving    a   low-income    patient   population

  disproportionately comprising people of color. While there are more than 20 primary

  care offices located throughout the county—often hours apart from each other by car

  or bus—mifepristone is typically only prescribed at a single site within the county

  health system, and the REMS is impeding Dr. McNeil and her colleagues from

  expanding the provision of mifepristone to outlying clinics. She and her colleagues

  have already spent tens of hours over multiple years trying to navigate the

  administrative barriers imposed by the REMS, and developing technology to

  increase awareness of the REMS among clinicians across the health system and

  streamline their ability to make mifepristone available for abortion and miscarriage

  care. These efforts have yielded only limited success, and Dr. McNeil’s work to

  surmount the REMS barriers is ongoing.

     195.     For instance, as a direct result of the Prescriber Certification ETASU,

  Dr. McNeil’s health system requires that would-be mifepristone prescribers go

  through the added hurdle of obtaining internal privileges for mifepristone through

  their Medical Staff Office. To become credentialed, a clinician must submit an

  application that is then reviewed by the credentialing committee through a formal

  process occurring only once per month—delaying a clinician’s ability to integrate

  mifepristone into their practice. Dr. McNeil’s health system does not require OB-

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  GYN or Family Medicine doctors to obtain privileging before prescribing any other

  medication—only mifepristone.

     196.      As another example, the REMS creates an array of challenges for Dr.

  McNeil and her colleagues with respect to mifepristone dispensing. After countless

  meetings and emails with the numerous colleagues that must be involved in REMS

  compliance, Dr. McNeil’s health system recently developed a process for its

  inpatient pharmacy to maintain records of whether a clinician is certified to prescribe

  mifepristone, and to dynamically update the system’s electronic health records to

  reflect that information—a substantial and ongoing investment of human labor.

     197.      Even with this system in place, the Prescriber Certification ETASU is

  likely to still cause confusion and delays in patient care. Dr. McNeil’s system has

  determined that, if a clinician unaware of the REMS requirements submits a

  mifepristone prescription to the health system’s inpatient pharmacy without already

  being REMS-certified, someone at the inpatient pharmacy—which is also

  responsible for, e.g., filling time-sensitive prescriptions for the hospital’s intensive

  care unit—will have to send a copy of the certification form to that prescriber, who

  must then print, sign, and fax it back to the inpatient pharmacy before the prescriber

  can be considered temporarily privileged for mifepristone and the medication can be

  dispensed. Alternatively, if a clinician working at one of the few clinics in the county

  health system that stock mifepristone onsite writes a prescription for a patient

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  without having already been REMS-certified, the nurse responsible for dispensing

  medications would have to notify the prescriber that certification is required before

  it can be dispensed; the clinician would then have to coordinate with the inpatient

  pharmacy to complete their certification and fax it to the pharmacy; and the

  pharmacy would then have to get in touch with the nurse to give the green-light to

  dispense the mifepristone. Meanwhile, the patient either must wait at the clinic for

  this entire process to be completed in order to obtain their prescription, or else leave

  the clinic—for instance, because of work or family responsibilities—and then make

  another trip back at a later time to obtain the pill, with all of the burdens and costs

  of transportation, child care, and time off work that entails.

     198.      Dr. McNeil shares her story in her individual capacity and as an SFP

  and CAFP member, and not as a representative of any other institution.

     199.      Julie Jenkins, DNP, APRN, WHNP-BC, is a member of SFP and a

  nurse practitioner specializing in women’s health who also holds a Doctor of

  Nursing Practice degree. The Doctor of Nursing Practice degree culminates in a final

  project intended to provide the doctoral candidate with an opportunity to publish and

  to gain other meaningful experience that will help position them for the academic

  job market. Dr. Jenkins intended to focus her project on developing and

  implementing a training on mifepristone for advanced practice registered nurses, the

  methodology and results of which she would then publish. However, Dr. Jenkins

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  faced repeated REMS-related hurdles in attempting to implement this

  straightforward project. For instance, while IRB approval would normally not be

  required for a project of this nature, Dr. Jenkins was advised by leadership at her

  academic institution to seek IRB approval—expressly because of mifepristone’s

  REMS classification. Despite months of efforts to try to overcome these barriers, Dr.

  Jenkins was unable to complete the project at all, forfeiting an important professional

  opportunity. Indeed, Dr. Jenkins later had to explain in a job interview for an

  academic position why she did not complete a project during her doctoral program,

  and ultimately did not get that job.

     200.      Dr. Jenkins shares her story in her individual capacity and as an SFP

  member, and not as a representative of any other institution.

     201.      Angela Chen, MD, is a member of SFP and an OB-GYN practicing in

  a large university medical center in Los Angeles. Dr. Chen is a certified prescriber

  in the mifepristone REMS Program who prescribes mifepristone to patients seeking

  medication abortion and miscarriage care. But the Prescriber Certification ETASU

  poses significant burdens for Dr. Chen and her colleagues. Dr. Chen has colleagues

  within her institution and at the institution’s satellite clinics who, although trained

  to provide medication abortion and miscarriage care with mifepristone, do not

  prescribe mifepristone because of the Prescriber Certification ETASU.           These

  colleagues have informed Dr. Chen that they are not comfortable becoming certified

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  prescribers because of concerns about security and stigma if they were ever publicly

  identified as an abortion provider. Instead, they refer their patients who need

  mifepristone for medication abortion or miscarriage care to Dr. Chen and other

  certified prescribers in her practice. Similarly, OB-GYNs, family medicine

  physicians, internal medicine doctors, pediatricians, and other clinicians who

  practice in private settings and in community health centers in the Los Angeles area

  regularly refer patients to Dr. Chen and her colleagues for medication abortion and

  miscarriage care using mifepristone because they are unwilling or unable to become

  REMS-certified. These referrals occur nearly every week. Because of the frequency

  with which the referrals occur, and the time-sensitive medical care involved, these

  referrals impose burdens and logistical challenges for the certified prescribers as

  well as other institutional staff who have to work to try to squeeze these patients into

  already packed schedules.

     202.      The Patient Agreement ETASU also burdens Dr. Chen and her patients.

  Dr. Chen’s institution uses an electronic medical record and e-signature system that

  could not accommodate the Patient Agreement form required under the REMS. As

  a result, they had to set up an entirely new system, separate from their existing

  system, to obtain e-signatures from the patients prescribed mifepristone. But even

  this does not fully solve the problem, because Dr. Chen and her colleagues have

  some patients who do not have smart phones or computers with which to sign the

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  form remotely. As a result, those patients must make an entirely unnecessary in-

  person trip to the health center just to sign the Patient Agreement form and pick up

  the pill, with all of the costs and logistics—including transportation, child care, and

  time off work—such travel entails. If not for the REMS, those patients could obtain

  their medication by mail (or at a local pharmacy) without having to make a trip to

  Dr. Chen’s office.

     203.      The Patient Agreement ETASU has also imposed emotional harm on

  some of Dr. Chen’s patients seeking care for miscarriage, because they are forced to

  sign a form that says they have decided to take mifepristone to end their pregnancy

  when they are, in reality, suffering the loss of a wanted pregnancy.

     204.      Dr. Chen shares her story in her individual capacity and as an SFP

  member, and not as a representative of any other institution.

     205.      Zeynep Uzumcu, MD, is a member of CAFP and a family medicine

  doctor specializing in obstetrics care. Among other work, she provides primary care

  at a safety net community health center serving a low-income population,

  disproportionately comprising people of color, in the northern central valley of

  California. In that capacity, Dr. Uzumcu regularly has patients present who are

  experiencing early pregnancy loss, and who request medication to complete the

  miscarriage. But Dr. Uzumcu is unable to provide her patients with the combined

  mifepristone-misoprostol regimen for early pregnancy loss because of the REMS.

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  For years, she and her colleagues have been attempting to make mifepristone

  available at their health center, but the clinic administration is deeply concerned

  about having to require miscarriage patients to sign a form stating that they are

  having an abortion. As a result, Dr. Uzumcu either offers patients the misoprostol-

  only regimen for miscarriage—while informing them that it is less effective than the

  combined regimen and thus they are more likely to require an additional in-office

  procedure if it fails—or else must refer them elsewhere for care. Both options have

  significant downsides: Dr. Uzumcu’s patients in the midst of a miscarriage who opt

  to be referred elsewhere must make an extra visit to a health center, and typically

  cannot obtain an appointment (even with Dr. Uzumcu’s help) for three to seven days.

  On the other hand, if patients opt for the misoprostol-only regimen and then have

  the treatment regimen fail, they generally must seek an in-office dilation and

  curettage procedure that they were hoping to avoid. Moreover, because Dr.

  Uzumcu’s health center does not offer that service, such patients have to travel to

  another facility for the procedure, often with a multi-week delay before they can

  obtain an appointment. If not for the REMS, Dr. Uzumcu would be able to provide

  her patients with the preferred treatment regimen for medical management of

  miscarriage.

     206.        Dr. Uzumcu shares her story in her individual capacity and as a CAFP

  member, and not as a representative of any other institution.

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     207.      Panna Lossy, MD, is a member of CAFP and a family medicine doctor;

  she also currently serves as the North Bay Chapter President for CAFP and as an

  alternate delegate to the CAFP board of directors. Dr. Lossy previously ran an early

  pregnancy options clinic within a full-spectrum primary care practice in California,

  where she was a certified mifepristone prescriber. She has retired from that role, but

  is still regularly contacted by doctors who want to integrate mifepristone into their

  practices and seek Dr. Lossy’s help understanding and navigating the REMS

  barriers—including numerous such requests for help in the two months since FDA’s

  2023 REMS reauthorization. Doctors frequently seek out Dr. Lossy, for instance, to

  discuss their fears about being on an abortion provider “list,” or to strategize about

  how they can try to reduce the burdens of REMS compliance on other departments

  within their health care system. Unfortunately, while Dr. Lossy can tell these

  colleagues that there are measures in place to try to ensure the confidentiality of

  mifepristone prescriber certifications, it is impossible for her to reassure them that

  they would not face anti-abortion violence or harassment if their certification as a

  mifepristone prescriber were to be leaked—especially now, post Dobbs. Ultimately,

  even with Dr. Lossy’s help, the REMS often delays or deters clinicians with whom

  she consults from becoming certified mifepristone prescribers.

     208.      While Dr. Lossy is motivated to provide this support because of her

  commitment to expanding safe and equitable access to reproductive health care,

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  these conversations require time that she would otherwise spend on paid work or

  time with her family. Dr. Lossy does not have comparable conversations with

  respect to any other drug or health care service, and if FDA regulated mifepristone

  like other equally safe prescription drugs, these REMS-related burdens on Dr. Lossy

  would be eliminated.

     209.      Dr. Lossy shares her story in an individual capacity and as a member of

  CAFP and SFP, not on behalf of any other institution.

     210.      Additionally, SFP and CAFP each must divert resources from other

  organizational priorities to try to mitigate the burdens of the mifepristone REMS.

     211.      For instance, separate and apart from this litigation, SFP regularly

  participates in meetings and consults with members regarding the impact of the

  REMS and how to mitigate the burdens of those restrictions, and is in the process of

  developing guidance about seeking IRB approval for studies relating to abortion and

  contraception that may include a component about navigating the mifepristone

  REMS. These efforts require staff time and resources that SFP would otherwise

  spend on other clinical and policy matters relating to abortion and contraception.

     212.      Similarly, separate and apart from this litigation, CAFP regularly

  participates in meetings and consults with members regarding the impact of the

  mifepristone REMS and how to mitigate the burdens of those restrictions. CAFP has

  also engaged in specific efforts to educate its members about compliance with the

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  REMS, for instance through a webinar. These efforts require staff time and resources

  that CAFP would otherwise spend on advocacy, clinical education, professional

  development, and other efforts to support its family physician members.

                                 CLAIMS FOR RELIEF

                                         COUNT I

                                    (Equal Protection)

     213.      The allegations of paragraphs 1 through 212 are incorporated as though

  fully set forth herein.

     214.      The Mifepristone REMS Program violates Plaintiffs’, Plaintiffs’

  members’, and Plaintiffs’ members’ patients’ right to equal protection of the laws

  under the Fifth Amendment to the United States Constitution by treating Plaintiffs,

  Plaintiffs’ members, and Plaintiffs’ members’ patients differently from other

  similarly situated parties without a sufficient state interest.

                                        COUNT II

         (Administrative Procedure Act: Contrary to Constitutional Right)

     215.      The allegations of paragraphs 1 through 212 are incorporated as though

  fully set forth herein.

     216.      FDA’s 2023 reauthorization of the mifepristone REMS and other

  agency action and inaction described herein constituted final agency action for




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  which Plaintiffs have no other adequate remedy within the meaning of 5 U.S.C. §

  704.

     217.        FDA’s 2023 reauthorization of the mifepristone REMS and other

  agency action and inaction described herein is contrary to Plaintiffs’, Plaintiffs’

  members’, and Plaintiffs’ members’ patients’ constitutional rights, including their

  rights under the Fifth Amendment to the U.S. Constitution, in violation of 5 U.S.C.

  § 706(2)(B).

                                       COUNT III

         (Administrative Procedure Act: In Excess of Statutory Authority)

     218.        The allegations of paragraphs 1 through 212 are incorporated as though

  fully set forth herein.

     219.        FDA’s 2023 reauthorization of the mifepristone REMS and other

  agency action and inaction described herein constituted final agency action for

  which Plaintiffs have no other adequate remedy within the meaning of 5 U.S.C. §

  704.

     220.        FDA’s 2023 reauthorization of the mifepristone REMS and other

  agency action and inaction described herein is in excess of the Agency’s statutory

  authority under the FDCA in violation of 5 U.S.C. § 706(2)(C).




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                                      COUNT IV

                         (Administrative Procedure Act:
         Arbitrary, Capricious, Abuse of Discretion, and Contrary to Law)

     221.      The allegations of paragraphs 1 through 212 are incorporated as though

  fully set forth herein.

     222.      FDA’s 2023 reauthorization of the mifepristone REMS and other

  agency action and inaction described herein constituted final agency action for

  which Plaintiffs have no other adequate remedy within the meaning of 5 U.S.C. §

  704.

     223.      FDA’s 2023 reauthorization of the mifepristone REMS was not based

  on any reasoned decision or rational basis, and therefore was arbitrary, capricious,

  an abuse of discretion and otherwise not in accordance with law in violation of 5

  U.S.C. § 706(2)(A).

     224.       FDA’s 2023 reauthorization of the mifepristone REMS treated

  similarly situated entities differently without adequate justification, and therefore

  was arbitrary, capricious, an abuse of discretion and otherwise not in accordance

  with law in violation of 5 U.S.C. § 706(2)(A).

     225.       FDA’s 2023 reauthorization of the mifepristone REMS violated the

  Agency’s governing statute and therefore is not in accordance with law in violation

  of 5 U.S.C. § 706(2)(A).


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                               PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their

  favor and:

     1) Declare, pursuant to 28 U.S.C. § 2201, that the mifepristone REMS in its

        entirety, as set forth above, violates the Fifth Amendment of the United States

        Constitution; and/or

     2) Declare, pursuant to 28 U.S.C. § 2201, that certain components of the

        mifepristone REMS violate the Fifth Amendment of the United States

        Constitution:

           a. ETASU A (Prescriber Certification); and/or

           b. ETASU B (Pharmacy Certification); and/or

           c. ETASU D (Patient Agreement Form); and/or

           d. Implementation System; and/or

           e. Timetable for Assessments; and/or

     3) Declare, pursuant to 28 U.S.C. § 2201, that the mifepristone REMS in its

        entirety, as set forth above, violates the Administrative Procedure Act; and/or

     4) Declare, pursuant to 28 U.S.C. § 2201, that certain components of the

        mifepristone REMS violate the Administrative Procedure Act:

           a. ETASU A (Prescriber Certification); and/or

           b. ETASU B (Pharmacy Certification); and/or

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           c. ETASU D (Patient Agreement Form); and/or

           d. Implementation System; and/or

           e. Timetable for Assessments; and

     5) Enter an injunction prohibiting Defendants, their employees, agents, and

        successors in office, from requiring a REMS for Mifeprex (mifepristone),

        NDA 020687, mifepristone (ANDA 091178), or any future ANDA associated

        with these applications; and/or

     6) Remand to FDA with instructions to remove the Mifepristone REMS Program

        while maintaining the approvals of Mifeprex (mifepristone), NDA 020687,

        and mifepristone (ANDA 091178); and

     7) Award to Plaintiffs costs, expenses, and attorneys’ fees pursuant to 28 U.S.C.

        § 2412; and

     8) Award such other, further, and different relief as the Court deems just and

        proper.




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  DATED: Honolulu, Hawaiʻi, April 10, 2023.


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